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         with all the things associated with recent developments

         outside of this courtroom.

                       So, I'm going to do it this evening and I will

         reach out tomorrow.       Chambers will reach out tomorrow and let

         you know, (A), if we're going to schedule it, and, (B), when

         it'll be, and we'll obviously consult you on that.

                       MR. WAXMAN:     Okay.    And the second --

                       THE COURT:    And we can do that by phone.

                       MR. WAXMAN:     What's that?

                       THE COURT:    We can do that by phone, the TRO.

                       MR. WAXMAN:     Okay.    That would be great, Your

         Honor.    Thank you.

                       Actually, before I get to my final point, I think

         it was Levitz, Your Honor, on Naamans Road that had the

         enormous sign that was on the --

                       THE COURT:    The whole building.

                       MR. WAXMAN:     -- the whole side of the building.

                       THE COURT:    It was crazy.

                       MR. WAXMAN:     Yes.    It was the single largest GOB

         sign I've ever seen.

                       THE COURT:    That's why you should file in

         Delaware.

                  (Laughter)

                       MR. WAXMAN:     Just for clarification -- I know that

         you had said, and I appreciate that Mr. Waxman's client is




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         going to be carved out -- that was with respect to JoFran?

                       THE COURT:    Yes.

                       MR. WAXMAN:     And we would also mention the

         mattress separately.

                       THE COURT:    So, I was going to talk to you about

         Serta and see if you can work something out and if you can't,

         you can just do dueling language.

                       MR. WAXMAN:     Thank you, Your Honor.

                       THE COURT:    Okay.

                       MR. WAXMAN:     I appreciate it.

                       THE COURT:    You're welcome.

                       Mr. Werkheiser?

                       MR. WERKHEISER:      Your Honor, I just wanted to rise

         and see if we could just take care of a couple of process

         points here of what's kicking the hearing to the 20th.

                       Did Your Honor have a timeline for us to start on

         the 20th?

                       THE COURT:    10:00.

                       MR. WERKHEISER:       Could we -- I mean, the committee

         is in a different position because they won't be formed until

         the 18th, but for other parties that are going to raise

         issues that we have to address for the hearing on the 20th,

         can we have an objection deadline set so that we know what

         we're confronted with?

                       THE COURT:    Yeah, I think that's fair -- the 18th




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         at noon.

                       MR. WERKHEISER:      Thank you.

                       THE COURT:    And, you know, in my mind, the issue

         isn't going to be the nuts and bolts of the sale anymore --

         we're dealing with that tomorrow when I sign an order

         allowing the debtors to do it -- it's the nuts and bolts of

         the consulting arrangement, so it's narrowed to that point.

                       MR. WERKHEISER:      Uh-huh.

                       THE COURT:    I mean the committee may come in and

         say, Don't do GOB sales, but I think the genie is out of that

         bottle, but I'll deal with that if that's what they say.

                       But what I really want to focus on the 20th is the

         issue of the consulting agreement.

                       MR. WERKHEISER:      Understood, Your Honor.

                       Let me just sweep through and make sure there's no

         other business we need to take care of today.             But I think

         that covers our agenda and of course we --

                       THE COURT:    So, I'm waiting tomorrow, I'm waiting

         for the DIP order under COC and I'm waiting for the store-

         closing order under COC.

                       MR. WERKHEISER:      Correct.

                       THE COURT:    And I'm in all day tomorrow, so not to

         give you permission to take until 8:00 p.m. but take the time

         you need and be in touch with chambers if there are any

         issues.




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                       MR. WERKHEISER:      Thank you, Your Honor.

                       THE COURT:    If there's a dust-up or something, you

         know, we always have the ability to get everybody on the

         phone and try to figure that out.

                       MR. WERKHEISER:      Thank you, Your Honor.

                       THE COURT:    All right.     Let me just double-check

         what my availability is tomorrow.

                (Pause)

                       THE COURT:    Yeah, I have lots of time to fit you

         in here and there, so that won't be a problem.             All right.

                       MR. WERKHEISER:      We'll do everything possible to

         avoid having to disturb you, too.          Hopefully we'll just be

         sending things over and alerting you to their availability.

                       THE COURT:    Well, that would be great.

                       All right.    Thank you very much.        We're adjourned.

                       (Proceedings concluded at 5:28 p.m.)




                                        CERTIFICATE



         I certify that the foregoing is a correct transcript from the

         electronic sound recording of the proceedings in the above-

         entitled matter.

         /s/Mary Zajaczkowski__ _________                 March 13, 2020
         Mary Zajaczkowski, CET**D-531




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                                                                                                 Presidential Documents



                                                                                                 Proclamation 9994 of March 13, 2020

                                                                                                 Declaring a National Emergency Concerning                                   the   Novel
                                                                                                 Coronavirus Disease (COVID–19) Outbreak


                                                                                                 By the President of the United States of America

                                                                                                 A Proclamation
                                                                                                 In December 2019, a novel (new) coronavirus known as SARS–CoV–2 (‘‘the
                                                                                                 virus’’) was first detected in Wuhan, Hubei Province, People’s Republic
                                                                                                 of China, causing outbreaks of the coronavirus disease COVID–19 that has
                                                                                                 now spread globally. The Secretary of Health and Human Services (HHS)
                                                                                                 declared a public health emergency on January 31, 2020, under section
                                                                                                 319 of the Public Health Service Act (42 U.S.C. 247d), in response to
                                                                                                 COVID–19. I have taken sweeping action to control the spread of the virus
                                                                                                 in the United States, including by suspending entry of foreign nationals
                                                                                                 seeking entry who had been physically present within the prior 14 days
                                                                                                 in certain jurisdictions where COVID–19 outbreaks have occurred, including
                                                                                                 the People’s Republic of China, the Islamic Republic of Iran, and the
                                                                                                 Schengen Area of Europe. The Federal Government, along with State and
                                                                                                 local governments, has taken preventive and proactive measures to slow
                                                                                                 the spread of the virus and treat those affected, including by instituting
                                                                                                 Federal quarantines for individuals evacuated from foreign nations, issuing
                                                                                                 a declaration pursuant to section 319F–3 of the Public Health Service Act
                                                                                                 (42 U.S.C. 247d–6d), and releasing policies to accelerate the acquisition
                                                                                                 of personal protective equipment and streamline bringing new diagnostic
                                                                                                 capabilities to laboratories. On March 11, 2020, the World Health Organiza-
                                                                                                 tion announced that the COVID–19 outbreak can be characterized as a pan-
                                                                                                 demic, as the rates of infection continue to rise in many locations around
                                                                                                 the world and across the United States.
                                                                                                 The spread of COVID–19 within our Nation’s communities threatens to
                                                                                                 strain our Nation’s healthcare systems. As of March 12, 2020, 1,645 people
                                                                                                 from 47 States have been infected with the virus that causes COVID–19.
                                                                                                 It is incumbent on hospitals and medical facilities throughout the country
                                                                                                 to assess their preparedness posture and be prepared to surge capacity
                                                                                                 and capability. Additional measures, however, are needed to successfully
                                                                                                 contain and combat the virus in the United States.
                                                                                                 NOW, THEREFORE, I, DONALD J. TRUMP, President of the United States,
                                                                                                 by the authority vested in me by the Constitution and the laws of the
                                                                                                 United States of America, including sections 201 and 301 of the National
                                                                                                 Emergencies Act (50 U.S.C. 1601 et seq.) and consistent with section 1135
                                                                                                 of the Social Security Act (SSA), as amended (42 U.S.C. 1320b–5), do hereby
                                                                                                 find and proclaim that the COVID–19 outbreak in the United States con-
                                                                                                 stitutes a national emergency, beginning March 1, 2020. Pursuant to this
                                                                                                 declaration, I direct as follows:
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                                                                                                 Section 1. Emergency Authority. The Secretary of HHS may exercise the
                                                                                                 authority under section 1135 of the SSA to temporarily waive or modify
                                                                                                 certain requirements of the Medicare, Medicaid, and State Children’s Health
                                                                                                 Insurance programs and of the Health Insurance Portability and Account-
                                                                                                 ability Act Privacy Rule throughout the duration of the public health emer-
                                                                                                 gency declared in response to the COVID–19 outbreak.


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                                                                                                 Sec. 2. Certification and Notice. In exercising this authority, the Secretary
                                                                                                 of HHS shall provide certification and advance written notice to the Congress
                                                                                                 as required by section 1135(d) of the SSA (42 U.S.C. 1320b–5(d)).
                                                                                                 Sec. 3. General Provisions. (a) Nothing in this proclamation shall be construed
                                                                                                 to impair or otherwise affect:
                                                                                                   (i) the authority granted by law to an executive department or agency,
                                                                                                   or the head thereof; or
                                                                                                   (ii) the functions of the Director of the Office of Management and Budget
                                                                                                   relating to budgetary, administrative, or legislative proposals.
                                                                                                   (b) This proclamation shall be implemented consistent with applicable
                                                                                                 law and subject to the availability of appropriations.
                                                                                                    (c) This proclamation is not intended to, and does not, create any right
                                                                                                 or benefit, substantive or procedural, enforceable at law or in equity by
                                                                                                 any party against the United States, its departments, agencies, or entities,
                                                                                                 its officers, employees, or agents, or any other person.
                                                                                                 IN WITNESS WHEREOF, I have hereunto set my hand this thirteenth day
                                                                                                 of March, in the year of our Lord two thousand twenty, and of the Independ-
                                                                                                 ence of the United States of America the two hundred and forty-fourth.




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                                             Filed 3–17–20; 8:45 am]
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     Wolf Administration Issues Guidance to
     Non-essential Businesses as Part of COVID-
     19 Mitigation Efforts
     March 14, 2020


     Businesses in Bucks, Chester, Delaware, Montgomery counties urged to close for 14
                                                                          days

     Harrisburg, PA – Today, the Department of Community and Economic
     Development (DCED), in consultation with the Department of Health (DOH), issued
     guidance for non-essential businesses in Bucks, Chester, Delaware, and
     Montgomery counties to mitigate the spread of COVID-19.

     Governor Tom Wolf has strongly urged non-essential businesses in the four
     counties to close during their county-specif ic mitigation periods to protect
     employees, customers, and suppliers and limit the spread of the virus through
     personal contact and surfaces. DCED and DOH are reaching out to businesses
     through a letter (https://dced.pa.gov/letter-from-secretary-levine) to provide
     guidance on the types of businesses that are urged to close. The letter also
     indicates to businesses that financial assistance opportunities are available to
     mitigate the f inancial impact of closures.

     “We are committed to keeping all Pennsylvanians safe and healthy, and we are
     taking every measure to prevent the spread of COVID-19,” said DCED Secretary
     Dennis Davin. “We continue to report new cases of coronavirus every day, and
     additional steps must be taken to stop the spread. Therefore, we strongly urge non-
     essential businesses across Pennsylvania to do their part by temporarily closing to
     help mitigate the spread of this contagious virus.”

     Non-essential businesses include community and recreation centers; gyms,
     including yoga, barre and spin facilities; hair salons, nail salons and spas; casinos;
     concert venues; theaters; bars; sporting event venues and golf courses; retail




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     facilities, including shopping malls and except for pharmacy or other health care
     facilities within retail operations. Restaurants are urged only to remain open for
     carry-out and delivery orders.

     “We understand that small businesses are an economic driver in Pennsylvania, and
     a temporary closure will be a financial and community disruptor,” Davin said.
     “However, our top priority is maintaining public health and safety of all
     Pennsylvanians and taking these proactive steps now can help mitigate a potential
     community spread. DCED is committed to working with the business community
     to provide helpful resources for financial assistance.”

     DCED offers working capital loans that could be of assistance to businesses
     impacted by COVID-19. Resources and information will be posted to
     https://dced.pa.gov/resources (https://dced.pa.gov/resources) as they become
     available. The U.S. Small Business Administration, in addition to local funding
     partners, may also be a source of assistance for affected businesses.

     The Wolf Administration strongly encourages businesses to act now before the
     governor or the Secretary of Health finds it necessary to compel closures under the
     law for the interest of public health, including section 7301 of the Emergency
     Management Services Code.

     MEDIA CONTACTS:
     Casey Smith, DCED, 717.783.1132
     Lyndsay Kensinger, Gov. Wolf, 717-783-1116

                                                                         ###



           covid-19 (https://dced.pa.gov/tag/covid-19/)




            Facebook              Twitter            LinkedIn             More




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  ALL NON-LIFE-SUSTAINING BUSINESSES IN PENNSYLVANIA TO CLOSE PHYSICAL
  LOCATIONS AS OF 8 PM TODAY TO SLOW SPREAD OF COVID-19
  March 19, 2020

  Press Release, Public Health

  Wolf Administration Orders Closure of Non-Life-Sustaining Businesses at 8 p.m. Today, March 19
  Enforcement Actions for Restaurant, Bar Dine-In Closure Began at 8 p.m., March 18
  Enforcement Actions for Non-Compliance will Begin at 12:01 a.m. Saturday, March 21

  Governor Tom Wolf today ordered all non-life-sustaining businesses in Pennsylvania to close their physical locations as of 8 p.m. today,
  March 19, to slow the spread of COVID-19. Enforcement actions against businesses that do not close physical locations will begin
  at 12:01 a.m. Saturday, March 21.

  Gov. Wolf’s order is here.
  A video statement from Gov. Wolf is here.
  Sec. of Health’s order is here.
  A list of life-sustaining businesses is here.

  In extenuating circumstances, special exemptions will be granted to businesses that are supplying or servicing health care providers.

  “To protect the health and safety of all Pennsylvanians, we need to take more aggressive mitigation actions,” said Gov. Wolf. “This virus
  is an invisible danger that could be present everywhere. We need to act with the strength we use against any other severe threat. And,
  we need to act now before the illness spreads more widely.”

  The governor had previously encouraged non-life-sustaining businesses to close to mitigate the spread of COVID-19. Restaurants and
  bars were already required to stop all dine-in services. Enforcement for establishments with a liquor license began at 8 p.m. March 18,
  and enforcement for all other food establishments will begin at 8 p.m. tonight. Food establishments can offer carry-out, delivery, and
  drive-through food and beverage service, including alcohol.

  Pursuant to the Emergency Management Services Code, the governor is granted extraordinary powers upon his declaration of a
  disaster emergency, such as COVID-19. Among these powers, the governor may control the ingress and egress into the disaster area,
  the movement of persons, and the occupancy of premises within the disaster area, which has been established to be the entire
  commonwealth for the COVID-19 disaster emergency. The secretary of health separately is authorized under the law to employ
  measures necessary for the prevention and suppression of disease.

  Separately, and taken together, the administration is exercising these powers to temporarily close all non-life-sustaining businesses and
  dine-in facilities at all restaurants and bars across the commonwealth. Persons must be removed from these premises to cope with the
  COVID-19 disaster emergency.

  Failure to Comply and Enforcement
  Failure to comply with these requirements will result in enforcement action that could include citations, fines, or license suspensions.

  The governor has directed the following state agencies and local officials to enforce the closure orders to the full extent of the law:

     Pennsylvania Liquor Control Board
     Department of Health
     Department of Agriculture
     Pennsylvania State Police
     Local officials, using their resources to enforce closure orders within their jurisdictions




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https://www.governor.pa.gov/newsroom/all-non-life-sustaining-businesses-in-pennsylvania-to-close-physical-locations-as-of-8-pm-today-to-slow-sprea… 1/2
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  Private businesses, local organizations and other noncompliant entities that fail or refuse to comply with the governor’s orders that
  protect the lives and health of Pennsylvanians will forfeit their ability to receive any applicable disaster relief and/or may be subject to
  other appropriate administrative action. Such action may include termination of state loan or grant funding, including Redevelopment
  Assistance Capital Project (RACP) grant funding and/or suspension or revocation of licensure for violation of the law.

  Finally, in addition to any other criminal charges that might be applicable, the Department of Health is authorized to prosecute
  noncompliant entities for the failure to comply with health laws, including quarantine, isolation or other disease control measures.
  Violators are subject to fines or imprisonment.

  Business Loans and Support
  The Department of Community and Economic Development (DCED) offers working capital loans that could be of assistance to
  businesses impacted by COVID-19. Resources and information will be posted to http://dced.pa.gov/resources as they become
  available. The U.S. Small Business Administration, in addition to local funding partners, may also be a source of assistance for affected
  businesses.

  The Wolf Administration today announced the availability of low-interest loans for small businesses and eligible non-profits in all 67
  counties in Pennsylvania through the U.S. Small Business Administration (SBA).

  Businesses seeking guidance from DCED can also contact its customer service resource account at ra-dcedcs@pa.gov or by calling 1-
  877-PA-HEALTH and selecting option 1.

  For the most up-to-date information on COVID-19, Pennsylvanians should visit: https://www.pa.gov/guides/responding-to-covid-19/.




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  THE OFFICE OF GOVERNOR GRETCHEN WHITMER                                                                                                
   WHITMER / NEWS / PRESS RELEASES

   Governor Whitmer Signs Executive Order
   Temporarily Closing Bars, Theaters, Casinos, and
   Other Public Spaces; Limiting Restaurants to
   Delivery and Carry-Out Orders
   FOR IMMEDIATE RELEASE
   March 16, 2020



       Governor Whitmer Signs Executive Order Temporarily Closing Bars,
   Theaters, Casinos, and Other Public Spaces; Limiting Restaurants to Delivery
                              and Carry-Out Orders

   LANSING, Mich. -- Today, Governor Gretchen Whitmer signed Executive Order 2020-9, which
   temporarily closes theaters, bars, and casinos, and limits restaurants to carry-out and delivery
   orders.

   Under Executive Order 2020-9, effective Monday, March 16 at 3:00pm, the following places of
   public accommodation will be closed; restaurants, cafes, coffee houses, bars, taverns,
   brewpubs, distilleries, clubs, movie theaters, indoor and outdoor performance venues,
   gymnasiums, fitness centers, recreation centers, indoor sports facilities, indoor exercise
   facilities, exercise studios, spas, and casinos.

   This order does not restrict a place of business from offering food and beverage using delivery
   service, window service, walk-up service, drive-through service, or drive-up service. Places of
   public accommodation are encouraged to do so and use precautions to mitigate potential
   transmission
                 of COVID-19, including social distancing. Restaurants may allow five people inside                                  
   at a time to pick up orders, so long as they stay six feet apart from each other.

   These restrictions do not apply to the following locations: office buildings, grocery stores,
   markets, food pantries, pharmacies, drug stores, and providers of medical equipment and
   supplies, health care facilities, residential care facilities, congregate care facilities, and juvenile
   justice facilities, warehouse and distribution centers, and industrial and manufacturing
   facilities.

   Order restrictions will remain in place until Monday, March 30 at 11:59 pm.
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   “This disease is a challenge unlike any we’ve experienced in our lifetimes,” said Governor
   Whitmer. “Fighting it will cause significant but temporary changes to our daily lives. By
   practicing social distancing and taking aggressive action now, the state is working to mitigate
   the spread of coronavirus so we reduce the risk that our health care system becomes
   overwhelmed. This is about saving lives. Michiganders are tough and we are going to get
   through this, but it will require everyone doing their part. That means making smart choices
   and not putting yourself or others at risk by going out in public unless it is absolutely
   necessary.”

   “We need to move quickly to slow the spread of the virus and protect public health,” said Dr.
   Joneigh Khaldun. “I realize these actions will present temporary changes to the way we live,
   but they are critical to help ensure our health care system is prepared to treat those who need
   the most urgent medical care.”

   “This crisis will require business and labor working together to ensure that we are putting the
   best interests of Michiganders first in order to protect public health,” said Jeff Donofrio,
   Director of the Department of Labor and Economic Opportunity. “We understand that these
   decisions will impact the way we do business, but the decisions we make now will allow us to
   get our economy back on track sooner rather than later. We are putting measures in place to
   help protect the employers, employees, and individuals that will be impacted.”

   To mitigate the spread of COVID-19, Governors across the United States have begun
   implementing similar measures in their states, including Jay Inslee (D-WA), Charlie Baker (R-
   MA), and Tom Wolf (D-PA).

   Patients with confirmed infection have reportedly had mild to severe respiratory illness with
   symptoms of:
        Fever
        Cough
        Shortness of breath

   The best prevention for viruses, such as influenza, the common cold or COVID-19 is to:
        Ifyou think you have been exposed to COVID-19, call your health care provider. If you do
        not have a health care provider, call the nearest hospital.                                                                   
        Wash your hands often with soap and warm water for 20 seconds. If not available, use
        hand sanitizer.
        Avoid touching your eyes, nose, or mouth with unwashed hands.
        Cover your mouth and nose with a tissue or upper sleeve when coughing or sneezing.
        Avoid contact with people who are sick.
        If you are sick, stay home, and avoid contact with others.
        Replace handshakes with elbow bumps.
        Stay at least 6 feet away from others when in a public setting.
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   Information around this outbreak is changing rapidly. The latest information is available at
   Michigan.gov/Coronavirus and CDC.gov/Coronavirus.




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                                  EXHIBIT P




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                                            ORDER OF

  THE GOVERNOR OF THE COMMONWEALTH OF PENNSYLVANIA REGARDING THE
        CLOSURE OF ALL BUSINESSES THAT ARE NOT LIFE SUSTAINING

     WHEREAS, the World Health Organization and the Centers for Disease Control and
  Prevention (“CDC”) have declared a novel coronavirus (“COVID-19”) a “public health
  emergency of international concern,” and the U.S. Department of Health and Human Services
  (“HHS”) Secretary has declared that COVID-19 creates a public health emergency; and
      WHEREAS, as of March 6, 2020, I proclaimed the existence of a disaster emergency
  throughout the Commonwealth pursuant to 35 Pa. C.S. § 7301(c); and
    WHEREAS, I am charged with the responsibility to address dangers facing the
  Commonwealth of Pennsylvania that result from disasters. 35 Pa. C.S. § 7301(a); and
      WHEREAS, in addition to general powers, during a disaster emergency I am authorized
  specifically to control ingress and egress to and from a disaster area and the movement of
  persons within it and the occupancy of premises therein; and suspend or limit the sale,
  dispensing, or transportation of alcoholic beverages, firearms, and combustibles. 35 Pa. C.S. §
  7301(f); and
     WHEREAS, in executing the extraordinary powers outlined above, I am further authorized
  during a disaster emergency to issue, amend and rescind executive orders, proclamations and
  regulations and those directives shall have the force and effect of law. 35 Pa. C.S. § 7301(b);
  and
      WHEREAS, in addition to my authority, my Secretary of Health has the authority to
  determine and employ the most efficient and practical means for the prevention and suppression
  of disease. 71 P.S. § 532(a), 71 P.S. 1403(a); and
     WHEREAS, these means include isolation, quarantine, and any other control measure
  needed. 35 P.S. § 521.5.
     NOW THEREFORE, pursuant to the authority vested in me and my Administration by the
  laws of the Commonwealth of Pennsylvania, I do hereby ORDER and PROCLAIM as follows:

  Section 1:    Prohibition on Operation of Businesses that are not Life Sustaining

         All prior orders and guidance regarding business closures are hereby superseded.

          No person or entity shall operate a place of business in the Commonwealth that is not a
  life sustaining business regardless of whether the business is open to members of the public.
  This prohibition does not apply to virtual or telework operations (e.g., work from home), so long
  as social distancing and other mitigation measures are followed in such operations.

          Life sustaining businesses may remain open, but they must follow, at a minimum, the
  social distancing practices and other mitigation measures defined by the Centers for Disease
  Control to protect workers and patrons. A list of life sustaining businesses that may remain
  open is attached to and incorporated into this Order.




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        Enforcement actions will be taken against non-life sustaining businesses that are out of
  compliance effective March 21, 2020, at 12:01 a.m.

   Section 2:    Prohibition on Dine-In Facilities including Restaurants and Bars

          All restaurants and bars previously have been ordered to close their dine-in facilities to
  help stop the spread of COVID-19.

          Businesses that offer carry-out, delivery, and drive-through food and beverage service
  may continue, so long as social distancing and other mitigation measures are employed to
  protect workers and patrons. Enforcement actions will be taken against businesses that are out
  of compliance effective March 19, 2020, at 8 p.m.

  Section 3:     Effective Date and Duration

         This order is effective immediately and will remain in effect until further notice.


                                               GIVEN under my hand and the Seal of the
                                               Governor, at the city of Harrisburg, on this
                                               nineteenth day of March two thousand twenty, the
                                               year of the commonwealth the two hundred and
                                               forty-fourth.



                                               TOM WOLF
                                               Governor




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                                    OFFICIAL WEBSITE OF MICHIGAN.GOV
  THE OFFICE OF
  GOVERNOR GRETCHEN WHITMER                                                                                               
   WHITMER

   Governor Whitmer Signs "Stay Home, Stay Safe"
   Executive Order

   FOR IMMEDIATE RELEASE

   March 23, 2020

                              Governor Whitmer Signs “Stay Home, Stay Safe” Executive Order

     Governor directs all non-critical businesses to temporarily close, all Michiganders to stay home or six feet away
                                                   from others during COVID-19 crisis

   LANSING, Mich. -- Today, Governor Gretchen Whitmer signed the “Stay Home, Stay Safe” Executive Order (EO
   2020-21), directing all Michigan businesses and operations to temporarily suspend in-person operations that are
   not necessary to sustain or protect life. The order also directs Michiganders to stay in their homes unless they’re a
   part of that critical infrastructure workforce, engaged in an outdoor activity, or performing tasks necessary to the
   health and safety of themselves or their family, like going to the hospital or grocery store.

   Effective at 12:01 am on March 24, 2020, for at least the next three weeks, individuals may only leave their home or
   place of residence under very limited circumstances, and they must adhere to social distancing measures
   recommended by the Centers for Disease Control and Prevention when they do so, including remaining at least six
   feet from people from outside the individual’s household to the extent feasible under the circumstances.

   “In just 13 days, we’ve gone from 0 to over 1,000 COVID-19 cases,” said Governor Whitmer. “This is an
   unprecedented crisis that requires all of us working together to protect our families and our communities. The most
   effective way we can slow down the virus is to stay home. I know this will be hard, but it will be temporary. If we all
   come together, get serious, and do our part by staying home, we can stay safe and save lives.”

           
   “Taking aggressive action to protect our communities is the most important thing we can do to mitigate further   
   spread of COVID-19,” said Michigan Department of Health and Human Services Chief Deputy for Health and Chief
   Medical Executive Dr. Joneigh Khaldun. “If we do this now, we can make sure our hospitals and healthcare
   workers are prepared to take care of the sickest people. It is crucial that people do the right thing by staying home
   and staying safe.”

   Executive Order 2020-21 prohibits all businesses and operations from requiring workers to leave their homes,
   unless those workers are necessary to sustain or protect life or to conduct minimum basic operations. Businesses
   and operations are to designate the workers that meet those criteria, and must adopt social distancing practices
   and other mitigation measures to protect workers and patrons in the performance of that necessary in-person
   work.

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   Workers that are necessary to sustain or protect life include those in health care and public health, law enforcement
   and public safety, grocery store workers, and more. For a full list of these critical infrastructure workers, click the
   link to Executive Order 2020-21 at the bottom of this page.

   Additionally, under Executive Order 2020-21, all public and private gatherings of any number of people occurring
   among persons outside a single household are temporarily prohibited. People may leave the house to perform for
   limited, necessary purposes, and may engage in outdoor activities like walking, hiking, running, cycling, or any
   other recreational activity, consistent with remaining at least six feet from people from outside a person’s household
   and with other restrictions imposed by prior executive orders.

   Michigan is currently in the top five states in the nation in number of confirmed COVID-19 cases. Several governors
   across the country have taken similar steps to protect their communities from the spread of COVID-19, including
   governors Mike DeWine (R-OH), Andrew Cuomo (D-NY), J.B. Pritzker (D-IL), Tom Wolf (D-PA), Gavin Newsom (D-
   CA), John Bel Edwards (D-LA), Phil Murphy (D-NJ), and Ned Lamont (D-CT).

   Patients with confirmed infection have reportedly had mild to severe respiratory illness with symptoms of:

           Fever
           Cough
           Shortness of breath

   The best prevention for viruses, such as influenza, the common cold or COVID-19 is:

           If you think you have symptoms of COVID-19, call your health care provider. If you do not have a health care
           provider, call the nearest hospital.
           Wash your hands often with soap and warm water for 20 seconds. If not available, use hand sanitizer.
           Avoid touching your eyes, nose, or mouth with unwashed hands.
           Cover your mouth and nose with a tissue or upper sleeve when coughing or sneezing.
           Avoid contact with people who are sick.
           If you are sick, stay home, and avoid contact with others.
           Stay at least 6 feet away from others when in a public setting.

   Information around this outbreak is changing rapidly. The latest information is available at
   Michigan.gov/Coronavirus and CDC.gov/Coronavirus.
            
   For those who have questions about the state’s actions to mitigate the spread of coronavirus, please call the      
   COVID-19 Hotline at 1-888-535-6136 between 8AM - 5PM daily.

   Michiganders can apply for unemployment benefits if they have left work or taken a leave of absence because of
   self-isolation or self-quarantine in response to elevated risk from COVID-19 due to being immunocompromised,
   displaying the symptoms of COVID-19, having contact in the last 14 days with someone with a confirmed diagnosis
   of COVID-19, the need to care for someone with a confirmed diagnosis of COVID-19, or a family care responsibility
   as a result of a government directive. Those temporarily laid off from work should apply for unemployment benefits
   online at www.michigan.gov/UIA or 1-866-500-0017.




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   Governor Whitmer is working to ensure that children who rely on the food provided by schools will have the
   resources they need. The Michigan Department of Education (MDE) has developed an online map for families to
   find meals. Families can access the map at: https://www.mcgi.state.mi.us/schoolnutrition/.

   On March 19, the U.S. Small Business Administration (SBA) approved the governor’s request for a statewide
   Economic Injury Disaster Loan (EIDL) declaration, opening the opportunity to small businesses to access low-
   interest loans from the SBA. The application for disaster loan assistance is available at
   https://disasterloan.sba.gov/ela/. For businesses looking for more information on how to apply for an SBA EIDL
   loan or whether it is something they should consider, visit michiganbusiness.org/covid19.

   To view executive order 2020-21, click the link below:

   Executive Order 2020-21
   This press release will be translated and made available in Arabic and Spanish at www.michigan.gov/whitmer.

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                       EXECUTIVE ORDER IN RESPONSE TO COVID-19
                           (COVID-19 EXECUTIVE ORDER NO. 8)

  WHEREAS, I, JB Pritzker, Governor of Illinois, declared all counties in the State of Illinois as a
  disaster area on March 9, 2020 (Gubernatorial Disaster Proclamation) in response to the outbreak
  of Coronavirus Disease 2019 (COVID-19); and,
  WHEREAS, in a short period of time, COVID-19 has rapidly spread throughout Illinois,
  necessitating updated and more stringent guidance from federal, state, and local public health
  officials; and,
  WHEREAS, for the preservation of public health and safety throughout the entire State of
  Illinois, and to ensure that our healthcare delivery system is capable of serving those who are
  sick, I find it necessary to take additional measures consistent with public health guidance to
  slow and stop the spread of COVID-19;
  WHEREAS, COVID-19 has resulted in significant economic impact, including loss of income
  and wages, that threaten to undermine housing security and stability;
  WHEREAS, the enforcement of eviction orders for residential premises is contrary to the
  interest of preserving public health and ensuring that individuals remain in their homes during
  this public health emergency;
  THEREFORE, by the powers vested in me as the Governor of the State of Illinois, and pursuant
  to Sections 7(1), 7(2), 7(8), 7(10), and 7(12) of the Illinois Emergency Management Agency Act,
  20 ILCS 3305, and consistent with the powers in public health laws, I hereby order the
  following, effective March 21, 2020 at 5:00 pm and for the remainder of the duration of the
  Gubernatorial Disaster Proclamation, which currently extends through April 7, 2020:
  Section 1. Stay at Home; Social Distancing Requirements; and Essential Businesses and
  Operations
     1. Stay at home or place of residence. With exceptions as outlined below, all individuals
        currently living within the State of Illinois are ordered to stay at home or at their place of
        residence except as allowed in this Executive Order. To the extent individuals are using
        shared or outdoor spaces when outside their residence, they must at all times and as much
        as reasonably possible maintain social distancing of at least six feet from any other
        person, consistent with the Social Distancing Requirements set forth in this Executive
        Order. All persons may leave their homes or place of residence only for Essential
        Activities, Essential Governmental Functions, or to operate Essential Businesses and
        Operations, all as defined below.

         Individuals experiencing homelessness are exempt from this directive, but are strongly
         urged to obtain shelter, and governmental and other entities are strongly urged to make
         such shelter available as soon as possible and to the maximum extent practicable (and to
         use in their operation COVID-19 risk mitigation practices recommended by the U.S.
         Centers for Disease Control and Prevention (CDC) and the Illinois Department of Public



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        Health (IDPH)). Individuals whose residences are unsafe or become unsafe, such as
        victims of domestic violence, are permitted and urged to leave their home and stay at a
        safe alternative location. For purposes of this Executive Order, homes or residences
        include hotels, motels, shared rental units, shelters, and similar facilities.

     2. Non-essential business and operations must cease. All businesses and operations in
        the State, except Essential Businesses and Operations as defined below, are required to
        cease all activities within the State except Minimum Basic Operations, as defined below.
        For clarity, businesses may also continue operations consisting exclusively of employees
        or contractors performing activities at their own residences (i.e., working from home).

        All Essential Businesses and Operations are encouraged to remain open. To the greatest
        extent feasible, Essential Businesses and Operations shall comply with Social Distancing
        Requirements as defined in this Executive Order, including by maintaining six-foot social
        distancing for both employees and members of the public at all times, including, but not
        limited to, when any customers are standing in line.

     3. Prohibited activities. All public and private gatherings of any number of people
        occurring outside a single household or living unit are prohibited, except for the limited
        purposes permitted by this Executive Order. Pursuant to current guidance from the CDC,
        any gathering of more than ten people is prohibited unless exempted by this Executive
        Order. Nothing in this Executive Order prohibits the gathering of members of a
        household or residence.

        All places of public amusement, whether indoors or outdoors, including but not limited
        to, locations with amusement rides, carnivals, amusement parks, water parks, aquariums,
        zoos, museums, arcades, fairs, children’s play centers, playgrounds, funplexes, theme
        parks, bowling alleys, movie and other theaters, concert and music halls, and country
        clubs or social clubs shall be closed to the public.

        This Executive Order supersedes Section 2 of Executive Order 2020-07 (COVID-19
        Executive Order No. 5), which prohibited gatherings of 50 people or more.

     4. Prohibited and permitted travel. All travel, including, but not limited to, travel by
        automobile, motorcycle, scooter, bicycle, train, plane, or public transit, except Essential
        Travel and Essential Activities as defined herein, is prohibited. People riding on public
        transit must comply with Social Distancing Requirements to the greatest extent feasible.
        This Executive Order allows travel into or out of the State to maintain Essential
        Businesses and Operations and Minimum Basic Operations.

     5. Leaving the home for essential activities is permitted. For purposes of this Executive
        Order, individuals may leave their residence only to perform any of the following
        Essential Activities:




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            a. For health and safety. To engage in activities or perform tasks essential to their
               health and safety, or to the health and safety of their family or household
               members (including, but not limited to, pets), such as, by way of example only
               and without limitation, seeking emergency services, obtaining medical supplies or
               medication, or visiting a health care professional.

            b. For necessary supplies and services. To obtain necessary services or supplies
               for themselves and their family or household members, or to deliver those
               services or supplies to others, such as, by way of example only and without
               limitation, groceries and food, household consumer products, supplies they need
               to work from home, and products necessary to maintain the safety, sanitation, and
               essential operation of residences.

            c. For outdoor activity. To engage in outdoor activity, provided the individuals
               comply with Social Distancing Requirements, as defined below, such as, by way
               of example and without limitation, walking, hiking, running, or biking.
               Individuals may go to public parks and open outdoor recreation areas. However,
               playgrounds may increase spread of COVID-19, and therefore shall be closed.

            d. For certain types of work. To perform work providing essential products and
               services at Essential Businesses or Operations (which, as defined below, includes
               Healthcare and Public Health Operations, Human Services Operations, Essential
               Governmental Functions, and Essential Infrastructure) or to otherwise carry out
               activities specifically permitted in this Executive Order, including Minimum
               Basic Operations.

            e. To take care of others. To care for a family member, friend, or pet in another
               household, and to transport family members, friends, or pets as allowed by this
               Executive Order.

     6. Elderly people and those who are vulnerable as a result of illness should take
        additional precautions. People at high risk of severe illness from COVID-19, including
        elderly people and those who are sick, are urged to stay in their residence to the extent
        possible except as necessary to seek medical care. Nothing in this Executive Order
        prevents the Illinois Department of Public Health or local public health departments from
        issuing and enforcing isolation and quarantine orders pursuant to the Department of
        Public Health Act, 20 ILCS 2305.

     7. Healthcare and Public Health Operations. For purposes of this Executive Order,
        individuals may leave their residence to work for or obtain services through Healthcare
        and Public Health Operations.




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        Healthcare and Public Health Operations includes, but is not limited to: hospitals; clinics;
        dental offices; pharmacies; public health entities, including those that compile, model,
        analyze and communicate public health information; pharmaceutical, pharmacy, medical
        device and equipment, and biotechnology companies (including operations, research and
        development, manufacture, and supply chain); organizations collecting blood, platelets,
        plasma, and other necessary materials; licensed medical cannabis dispensaries and
        licensed cannabis cultivation centers; reproductive health care providers; eye care
        centers, including those that sell glasses and contact lenses; home healthcare services
        providers; mental health and substance use providers; other healthcare facilities and
        suppliers and providers of any related and/or ancillary healthcare services; and entities
        that transport and dispose of medical materials and remains.

        Specifically included in Healthcare and Public Health Operations are manufacturers,
        technicians, logistics, and warehouse operators and distributors of medical equipment,
        personal protective equipment (PPE), medical gases, pharmaceuticals, blood and blood
        products, vaccines, testing materials, laboratory supplies, cleaning, sanitizing,
        disinfecting or sterilization supplies, and tissue and paper towel products.

        Healthcare and Public Health Operations also includes veterinary care and all healthcare
        services provided to animals.

        Healthcare and Public Health Operations shall be construed broadly to avoid any impacts
        to the delivery of healthcare, broadly defined. Healthcare and Public Health Operations
        does not include fitness and exercise gyms, spas, salons, barber shops, tattoo parlors, and
        similar facilities.

     8. Human Services Operations. For purposes of this Executive Order, individuals may
        leave their residence to work for or obtain services at any Human Services Operations,
        including any provider funded by the Illinois Department of Human Services, Illinois
        Department of Children and Family Services, or Medicaid that is providing services to
        the public and including state-operated, institutional, or community-based settings
        providing human services to the public.

        Human Services Operations includes, but is not limited to: long-term care facilities; all
        entities licensed pursuant to the Child Care Act, 225 ILCS 10, except for day care
        centers, day care homes, group day care homes, and day care centers licensed as specified
        in Section 12(s) of this Executive Order; residential settings and shelters for adults,
        seniors, children, and/or people with developmental disabilities, intellectual disabilities,
        substance use disorders, and/or mental illness; transitional facilities; home-based settings
        to provide services to individuals with physical, intellectual, and/or developmental
        disabilities, seniors, adults, and children; field offices that provide and help to determine
        eligibility for basic needs including food, cash assistance, medical coverage, child care,
        vocational services, rehabilitation services; developmental centers; adoption agencies;




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        businesses that provide food, shelter, and social services, and other necessities of life for
        economically disadvantaged individuals, individuals with physical, intellectual, and/or
        developmental disabilities, or otherwise needy individuals.

        Human Services Operations shall be construed broadly to avoid any impacts to the
        delivery of human services, broadly defined.

     9. Essential Infrastructure. For purposes of this Executive Order, individuals may leave
        their residence to provide any services or perform any work necessary to offer, provision,
        operate, maintain and repair Essential Infrastructure.

        Essential Infrastructure includes, but is not limited to: food production, distribution, and
        sale; construction (including, but not limited to, construction required in response to this
        public health emergency, hospital construction, construction of long-term care facilities,
        public works construction, and housing construction); building management and
        maintenance; airport operations; operation and maintenance of utilities, including water,
        sewer, and gas; electrical (including power generation, distribution, and production of
        raw materials); distribution centers; oil and biofuel refining; roads, highways, railroads,
        and public transportation; ports; cybersecurity operations; flood control; solid waste and
        recycling collection and removal; and internet, video, and telecommunications systems
        (including the provision of essential global, national, and local infrastructure for
        computing services, business infrastructure, communications, and web-based services).

        Essential Infrastructure shall be construed broadly to avoid any impacts to essential
        infrastructure, broadly defined.

     10. Essential Governmental Functions. For purposes of this Executive Order, all first
         responders, emergency management personnel, emergency dispatchers, court personnel,
         law enforcement and corrections personnel, hazardous materials responders, child
         protection and child welfare personnel, housing and shelter personnel, military, and other
         governmental employees working for or to support Essential Businesses and Operations
         are categorically exempt from this Executive Order.

        Essential Government Functions means all services provided by the State or any
        municipal, township, county, subdivision or agency of government and needed to ensure
        the continuing operation of the government agencies or to provide for or support the
        health, safety and welfare of the public, and including contractors performing Essential
        Government Functions. Each government body shall determine its Essential
        Governmental Functions and identify employees and/or contractors necessary to the
        performance of those functions.




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         This Executive Order does not apply to the United States government. Nothing in this
         Executive Order shall prohibit any individual from performing or accessing Essential
         Governmental Functions.

      11. Businesses covered by this Executive Order. For the purposes of this Executive Order,
          covered businesses include any for-profit, non-profit, or educational entities, regardless
          of the nature of the service, the function it performs, or its corporate or entity structure.

      12. Essential Businesses and Operations. For the purposes of this Executive Order,
          Essential Businesses and Operations means Healthcare and Public Health Operations,
          Human Services Operations, Essential Governmental Functions, and Essential
          Infrastructure, and the following:1

             a. Stores that sell groceries and medicine. Grocery stores, pharmacies, certified
                farmers’ markets, farm and produce stands, supermarkets, convenience stores, and
                other establishments engaged in the retail sale of groceries, canned food, dry
                goods, frozen foods, fresh fruits and vegetables, pet supplies, fresh meats, fish,
                and poultry, alcoholic and non-alcoholic beverages, and any other household
                consumer products (such as cleaning and personal care products). This includes
                stores that sell groceries, medicine, including medication not requiring a medical
                prescription, and also that sell other non-grocery products, and products necessary
                to maintaining the safety, sanitation, and essential operation of residences and
                Essential Businesses and Operations;

             b. Food, beverage, and cannabis production and agriculture. Food and beverage
                manufacturing, production, processing, and cultivation, including farming,
                livestock, fishing, baking, and other production agriculture, including cultivation,
                marketing, production, and distribution of animals and goods for consumption;
                licensed medical and adult use cannabis dispensaries and licensed cannabis
                cultivation centers; and businesses that provide food, shelter, and other necessities
                of life for animals, including animal shelters, rescues, shelters, kennels, and
                adoption facilities;

             c. Organizations that provide charitable and social services. Businesses and
                religious and secular nonprofit organizations, including food banks, when
                providing food, shelter, and social services, and other necessities of life for
                economically disadvantaged or otherwise needy individuals, individuals who need
                assistance as a result of this emergency, and people with disabilities;


  1On March 19, 2020, the U.S. Department of Homeland Security, Cybersecurity & Infrastructure
  Security Agency, issued a Memorandum on Identification of Essential Critical Infrastructure Workers
  During COVID-19 Response. The definition of Essential Businesses and Operations in this Order is
  meant to encompass the workers identified in that Memorandum.



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           d. Media. Newspapers, television, radio, and other media services;

           e. Gas stations and businesses needed for transportation. Gas stations and auto-
              supply, auto-repair, and related facilities and bicycle shops and related facilities;

           f. Financial institutions. Banks, currency exchanges, consumer lenders, including
              but not limited, to payday lenders, pawnbrokers, consumer installment lenders
              and sales finance lenders, credit unions, appraisers, title companies, financial
              markets, trading and futures exchanges, affiliates of financial institutions, entities
              that issue bonds, related financial institutions, and institutions selling financial
              products;

           g. Hardware and supply stores. Hardware stores and businesses that sell
              electrical, plumbing, and heating material;

           h. Critical trades. Building and Construction Tradesmen and Tradeswomen, and
              other trades including but not limited to plumbers, electricians, exterminators,
              cleaning and janitorial staff for commercial and governmental properties, security
              staff, operating engineers, HVAC, painting, moving and relocation services, and
              other service providers who provide services that are necessary to maintaining the
              safety, sanitation, and essential operation of residences, Essential Activities, and
              Essential Businesses and Operations;

           i. Mail, post, shipping, logistics, delivery, and pick-up services. Post offices and
              other businesses that provide shipping and delivery services, and businesses that
              ship or deliver groceries, food, alcoholic and non-alcoholic beverages, goods or
              services to end users or through commercial channels;

           j. Educational institutions. Educational institutions—including public and private
              pre-K-12 schools, colleges, and universities—for purposes of facilitating distance
              learning, performing critical research, or performing essential functions, provided
              that social distancing of six-feet per person is maintained to the greatest extent
              possible. This Executive Order is consistent with and does not amend or
              supersede Executive Order 2020-05 (COVID-19 Executive Order No. 3) or
              Executive Order 2020-06 (COVID-19 Executive Order No. 4) except that affected
              schools are ordered closed through April 7, 2020;

           k. Laundry services. Laundromats, dry cleaners, industrial laundry services, and
              laundry service providers;

           l. Restaurants for consumption off-premises. Restaurants and other facilities that
              prepare and serve food, but only for consumption off-premises, through such
              means as in-house delivery, third-party delivery, drive-through, curbside pick-up,




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              and carry-out. Schools and other entities that typically provide food services to
              students or members of the public may continue to do so under this Executive
              Order on the condition that the food is provided to students or members of the
              public on a pick-up and takeaway basis only. Schools and other entities that
              provide food services under this exemption shall not permit the food to be eaten at
              the site where it is provided, or at any other gathering site due to the virus’s
              propensity to physically impact surfaces and personal property. This Executive
              Order is consistent with and does not amend or supersede Section 1 of Executive
              Order 2020-07 (COVID-19 Executive Order No. 5) except that Section 1 is
              ordered to be extended through April 7, 2020;

           m. Supplies to work from home. Businesses that sell, manufacture, or supply
              products needed for people to work from home;

           n. Supplies for Essential Businesses and Operations. Businesses that sell,
              manufacture, or supply other Essential Businesses and Operations with the
              support or materials necessary to operate, including computers, audio and video
              electronics, household appliances; IT and telecommunication equipment;
              hardware, paint, flat glass; electrical, plumbing and heating material; sanitary
              equipment; personal hygiene products; food, food additives, ingredients and
              components; medical and orthopedic equipment; optics and photography
              equipment; diagnostics, food and beverages, chemicals, soaps and detergent; and
              firearm and ammunition suppliers and retailers for purposes of safety and
              security;

           o. Transportation. Airlines, taxis, transportation network providers (such as Uber
              and Lyft), vehicle rental services, paratransit, and other private, public, and
              commercial transportation and logistics providers necessary for Essential
              Activities and other purposes expressly authorized in this Executive Order;

           p. Home-based care and services. Home-based care for adults, seniors, children,
              and/or people with developmental disabilities, intellectual disabilities, substance
              use disorders, and/or mental illness, including caregivers such as nannies who
              may travel to the child’s home to provide care, and other in-home services
              including meal delivery;

           q. Residential facilities and shelters. Residential facilities and shelters for adults,
              seniors, children, and/or people with developmental disabilities, intellectual
              disabilities, substance use disorders, and/or mental illness;

           r. Professional services. Professional services, such as legal services, accounting
              services, insurance services, real estate services (including appraisal and title
              services);




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            s. Day care centers for employees exempted by this Executive Order. Day care
               centers granted an emergency license pursuant to Title 89, Section 407.400 of the
               Illinois Administrative Code, governing Emergency Day Care Programs for
               children of employees exempted by this Executive Order to work as permitted.
               The licensing requirements for day care homes pursuant to Section 4 of the Child
               Care Act, 225 ILCS 10/4, are hereby suspended for family homes that receive up
               to 6 children for the duration of the Gubernatorial Disaster Proclamation.

            t. Manufacture, distribution, and supply chain for critical products and
               industries. Manufacturing companies, distributors, and supply chain companies
               producing and supplying essential products and services in and for industries such
               as pharmaceutical, technology, biotechnology, healthcare, chemicals and
               sanitization, waste pickup and disposal, agriculture, food and beverage,
               transportation, energy, steel and steel products, petroleum and fuel, mining,
               construction, national defense, communications, as well as products used by other
               Essential Businesses and Operations.

            u. Critical labor union functions. Labor Union essential activities including the
               administration of health and welfare funds and personnel checking on the well-
               being and safety of members providing services in Essential Businesses and
               Operations – provided that these checks should be done by telephone or remotely
               where possible.

            v. Hotels and motels. Hotels and motels, to the extent used for lodging and
               delivery or carry-out food services.

            w. Funeral services. Funeral, mortuary, cremation, burial, cemetery, and related
               services.

     13. Minimum Basic Operations. For the purposes of this Executive Order, Minimum Basic
         Operations include the following, provided that employees comply with Social
         Distancing Requirements, to the extent possible, while carrying out such operations:

            a. The minimum necessary activities to maintain the value of the business’s
               inventory, preserve the condition of the business’s physical plant and equipment,
               ensure security, process payroll and employee benefits, or for related functions.

            b. The minimum necessary activities to facilitate employees of the business being
               able to continue to work remotely from their residences.




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     14. Essential Travel. For the purposes of this Executive Order, Essential Travel includes
         travel for any of the following purposes. Individuals engaged in any Essential Travel
         must comply with all Social Distancing Requirements as defined in this Section.

            a. Any travel related to the provision of or access to Essential Activities, Essential
               Governmental Functions, Essential Businesses and Operations, or Minimum
               Basic Operations.

            b. Travel to care for elderly, minors, dependents, persons with disabilities, or other
               vulnerable persons.

            c. Travel to or from educational institutions for purposes of receiving materials for
               distance learning, for receiving meals, and any other related services.

            d. Travel to return to a place of residence from outside the jurisdiction.

            e. Travel required by law enforcement or court order, including to transport children
               pursuant to a custody agreement.

            f. Travel required for non-residents to return to their place of residence outside the
               State. Individuals are strongly encouraged to verify that their transportation out of
               the State remains available and functional prior to commencing such travel.

     15. Social Distancing Requirements. For purposes of this Executive Order, Social
         Distancing Requirements includes maintaining at least six-foot social distancing from
         other individuals, washing hands with soap and water for at least twenty seconds as
         frequently as possible or using hand sanitizer, covering coughs or sneezes (into the sleeve
         or elbow, not hands), regularly cleaning high-touch surfaces, and not shaking hands.

            a. Required measures. Essential Businesses and Operations and businesses
               engaged in Minimum Basic Operations must take proactive measures to ensure
               compliance with Social Distancing Requirements, including where possible:

                    i. Designate six-foot distances. Designating with signage, tape, or by other
                       means six-foot spacing for employees and customers in line to maintain
                       appropriate distance;

                    ii. Hand sanitizer and sanitizing products. Having hand sanitizer and
                        sanitizing products readily available for employees and customers;

                   iii. Separate operating hours for vulnerable populations. Implementing
                        separate operating hours for elderly and vulnerable customers; and




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                     iv. Online and remote access. Posting online whether a facility is open and
                         how best to reach the facility and continue services by phone or remotely.

     16. Intent of this Executive Order. The intent of this Executive Order is to ensure that the
         maximum number of people self-isolate in their places of residence to the maximum
         extent feasible, while enabling essential services to continue, to slow the spread of
         COVID-19 to the greatest extent possible. When people need to leave their places of
         residence, whether to perform Essential Activities, or to otherwise facilitate authorized
         activities necessary for continuity of social and commercial life, they should at all times
         and as much as reasonably possible comply with Social Distancing Requirements. All
         provisions of this Executive Order should be interpreted to effectuate this intent.

     17. Enforcement. This Executive Order may be enforced by State and local law
         enforcement pursuant to, inter alia, Section 7, Section 18, and Section 19 of the Illinois
         Emergency Management Agency Act, 20 ILCS 3305.

     18. No limitation on authority. Nothing in this Executive Order shall, in any way, alter or
         modify any existing legal authority allowing the State or any county, or local government
         body from ordering (1) any quarantine or isolation that may require an individual to
         remain inside a particular residential property or medical facility for a limited period of
         time, including the duration of this public health emergency, or (2) any closer of a
         specific location for a limited period of time, including the duration of this public health
         emergency. Nothing in this Executive Order shall, in any way, alter or modify any
         existing legal authority allowing a county or local government body to enact provisions
         that are stricter than those in this Executive Order.


  Section 2. Order ceasing evictions.
  Pursuant to the Illinois Emergency Management Agency Act, 20 ILCS 3305/7(2), (8), and (10),
  all state, county, and local law enforcement officers in the State of Illinois are instructed to cease
  enforcement of orders of eviction for residential premises for the duration of the Gubernatorial
  Disaster Proclamation. No provision contained in this Executive Order shall be construed as
  relieving any individual of the obligation to pay rent, to make mortgage payments, or to comply
  with any other obligation that an individual may have under tenancy or mortgage.
  Section 3. Savings clause.
  If any provision of this Executive Order or its application to any person or circumstance is held
  invalid by any court of competent jurisdiction, this invalidity does not affect any other provision
  or application of this Executive Order, which can be given effect without the invalid provision or
  application. To achieve this purpose, the provisions of this Executive Order are declared to be
  severable.




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                                          MEMORANDUM

   TO:            Employees Affected By Closing of Art Van Furniture Stores located at 6500 E
                  14 Mile Rd, Warren, MI, 48092; 27775 Novi Rd, Novi, MI, 48377; 4375 28th
                  St SE, Grand Rapids, MI, 49321; 4095 E Court St, Burton, MI, 48509; 14055
                  Hall Rd, Shelby Township, MI, 48315; 8748 W Saginaw Hwy, Lansing, MI,
                  48917; 4273 Alpine Ave Nw Ste B, Alpine, MI, 49321; and 1021 Butterfield
                  Rd. Downers Grove, Ilinois, 60515.

   FROM:          Cathrine Wenger, Senior Counsel

   SUBJECT:       WARN Act Notice (revised)

   DATE:          March 19, 2020

        On March 5, 2020, Art Van Furniture, LLC (the “Company”) informed employees that it had
   made the difficult decision to wind-down its operations, to include the closure of its retail facilities
   located at 6500 E 14 Mile Rd, Warren, MI, 48092; 27775 Novi Rd, Novi, MI, 48377; 4375 28th
   St SE, Grand Rapids, MI, 49321; 4095 E Court St, Burton, MI, 48509; 14055 Hall Rd, Shelby
   Township, MI, 48315; 8748 W Saginaw Hwy, Lansing, MI, 48917; and 4273 Alpine Ave Nw Ste
   B, Alpine, MI, 49321, which would in the permanent termination the employment of all employees
   at these locations.

           Since initial notice, the Company has been impacted by the novel COVID-19 virus and the
   resulting, and sudden, negative economic impact. Due to these unforeseen events, the Company
   can no longer support the wind-down of its retail operations through the originally projected
   termination date. The Company, therefore, submits this revised notice to you to satisfy any
   obligation that may exist under the federal Worker Adjustment and Retraining Notification Act,
   29 U.S.C. § 2101 et seq. (the “WARN Act”).

            All terminations of employment will be permanent and you will not have bumping rights
   for other positions (i.e., you will not have the right to displace employees with less seniority). The
   employment of Art Van’s sales associates and other commissioned employees, visuals,
   housekeepers, drivers, helpers, and other hub warehouse staff, Selling Managers and Outlet
   Managers as well as any Sales or Store Manager who is not scheduled to perform services on
   March 21, 2020 or March 22, 2020, will be terminated on March 20, 2020. All CPU’s and office
   staff, along with the Store Manager and/or Sales Manager scheduled to work on March 21, 2020
   or March 22, 2020 will be terminated at the end of the business day on March 22, 2020. Nothing
   in this letter alters your at-will employment status with the Company. You will be required to
   work through your Termination Date, following which date you will not be required to report to
   work or provide any services to the Company.

          I will be acting as the Company’s representative with regard to these matters. Should you
   have any questions, please contact me for further information at Cathrine Wenger, Senior Counsel,
   cwenger@artvan.com, (586) 983-2000. My address is 6500 E 14 Mile Rd, Warren, MI 48092.

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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

                                       .         Chapter 11
           IN RE:                      .
                                       .         Case No. 20-10553(CSS)
           ART VAN FURNITURE, et al,   .
                                       .
                                       .         824 Market Street
                                       .         Wilmington, Delaware 19801
                             Debtors. .
           . . . . . . . . . . . . . . .         Thursday, March 19, 2020

                      TRANSCRIPT OF TELEPHONIC STATUS CONFERENCE
                      BEFORE THE HONORABLE CHRISTOPHER S. SONTCHI
                          CHIEF UNITED STATES BANKRUPTCY JUDGE

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           (Appearances Continued)

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   1             (Proceedings commence at 2:01 p.m.)

   2                   THE COURT:     Good afternoon, everyone.         This is

   3       Judge Sontchi.      I hope all can hear me.        You can't see me,

   4       however.    You might -- for many of you, that's an advantage

   5       that you are soon going to lose.

   6                   UNIDENTIFIED:      Your Honor, I think we have to shut

   7       down either the audio in the Skype because we're hearing some

   8       feedback.

   9                   THE COURT:     Well, everybody that I have that is on

  10       Skype is on mute, except for Mr. Sandler.            There we go.

  11                   UNIDENTIFIED:      That's better, Your Honor.

  12                   THE COURT:     And --

  13                   MR. SANDLER:      (Not identified) My apologies, Your

  14       Honor.    I've never used Skype before.

  15                   THE COURT:     Me neither.     Somehow -- wait a minute.

  16       We're doing our best here, some new technology.

  17                   Let me ask because, apparently, I've disappeared.

  18       Can you see me on your displays?

  19                   UNIDENTIFIED:      No.

  20                   UNIDENTIFIED:      No.

  21                   UNIDENTIFIED:      We can see your name, but there's no

  22       picture.

  23             (Participants confer)

  24                   UNIDENTIFIED:      There you are.      That works.

  25                   THE COURT:     Oh, I can tell by the happy faces that


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   1       I have arrived.

   2                    UNIDENTIFIED:     You can look at everybody's houses

   3       now.

   4                    THE COURT:    All right.     Well, thank you very much.

   5       The Bankruptcy Court remains open for business, but it is not

   6       business as normal, as you can tell.           We are dealing with

   7       everything you are dealing -- I'm seeing many of you who are

   8       clearly at home.      I'm in the office, but I'm about the only

   9       person here, and we are operating remotely at the Bankruptcy

  10       Court now.

  11                    So we're going to be, as you know from my previous

  12       order -- maybe you've seen it -- we are going to be operating

  13       at -- with regard to only time-sensitive matters only.                All

  14       other matters are being cleared until, at this point, April

  15       15th.    That, of course, is subject to further extension, if

  16       necessary.     Our primary concern is the health and safety of

  17       our employees and the public, doing our civic duty to help

  18       stop the spread of this virus, and to promote and fulfill our

  19       mission of running the bankruptcy system.            And those are hard

  20       -- four hard things to try to get to work at the same time,

  21       but we're doing the very best we can.

  22                    As you know, we're doing telephonic appearances for

  23       most everything.      We are using -- we have this ability to use

  24       video to a limited extent, when we have to deal with

  25       witnesses.     Our interpretation of the law -- which could be


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   1       wrong, but it's our interpretation -- is that, if you have a

   2       contested evidentiary matter, it is not sufficient to have

   3       the witness available by telephone, but that there has to be

   4       a video connection, so that the Court can discern the

   5       demeanor of the witness, so that parties cross-examining that

   6       witness can see the witness, and so the witness can see the

   7       people cross-examining him or her.           And of course, there has

   8       to be the ability to look at documents.            So this is a

   9       complication.

  10                    And the reason I have this hearing today -- this

  11       conference today, is to prepare for tomorrow's hearing, which

  12       may be -- well, I think is going to be contested, and it may

  13       involve contested evidence.         I'm not sure about that, and

  14       that's one of the reasons I asked you all to be on the phone

  15       today, so we could flesh that out.

  16                    So what I'd like to do, first of all, is welcome

  17       Mr. Sandler to the case, who I understand represents the

  18       Official Committee of Unsecured Creditors that was appointed

  19       yesterday.

  20                    Mr. Barrie, if I could turn to your first, as

  21       counsel for the debtors, to give me a general report on

  22       what's going on with the debtor and what you -- how you

  23       foresee tomorrow going forward.

  24                    MR. BARRIE:     Thank you, Your Honor.       I'm actually

  25       going to defer to Mr. Werkheiser, who is on CourtCall.                As


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   1       you can imagine, this global pandemic has kind of thrown a

   2       wrench into everybody's business everywhere, and the debtors

   3       having retail going-out-of-business sales in the Midwest and

   4       the Northeast is certainly not excused from that.              So I want

   5       to kind of pitch it over to Greg, who can give the Court a

   6       general status update as to all the matters that are

   7       happening and the status of what the debtors are doing.

   8                   MR. WERKHEISER:      Yes.    Thank you, Mr. Barrie.

   9                   Your Honor, Greg Werkheiser of Benesch for the

  10       record, for the debtors.        And it seems like a lifetime ago,

  11       but I think, with the exception of the hearing we had on

  12       Monday on the TRO on the (indiscernible) matter, we were last

  13       before Your Honor on March 12th.

  14                   And this situation has evolved with a rapidity and

  15       severity over the last week that I don't think anybody could

  16       have predicted, and in a way that sort of uniquely makes life

  17       challenging for a furniture retailer especially.              And you

  18       know, so, obviously, as Your Honor is aware, this coronavirus

  19       epidemic has been sweeping through the country since early --

  20       I think it was late February or early March.             But really, you

  21       know, we started getting, you know, significant feedback

  22       about this shortly after the case was filed.             You know, as I

  23       look through the time lines of everything that has gone on

  24       relative to the coronavirus epidemic, you know, it's really

  25       just been in the last week that things have really ramped up.


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   1                   And you know, from the debtors' experience and

   2       their operations, you know, what we've seen transpiring in

   3       the states and localities where the debtors operate is -- you

   4       know, obviously, we have now federal state of emergency

   5       declared on account of this, and you know, all of the sort of

   6       reliable sources and information is urging everyone to stay

   7       home to the greatest extent to possible and to -- you know,

   8       no nonessential activities out of their homes.

   9                   And then a number of places where the company has

  10       operated in its core markets, such as Ohio and Pennsylvania

  11       and Michigan, the, you know, state and local governments have

  12       either issued strong guidance or outright directives for

  13       nonessential retail to not be operating over the last several

  14       days.    And this has had, you know, a devastating effect on

  15       the debtors' ability to operate, you know, both the store

  16       closing sales that had gotten underway just before the filing

  17       and for the quotations that were contemplated to be part of

  18       the Levin-Wolf going concern sale, which are 44 stores,

  19       primarily located in Pennsylvania and Ohio, those locations,

  20       as well.

  21                   Not to put too fine of a point on it, but you know,

  22       I think, for at least the last several days, you know, the

  23       company has been unable to meet, even at the store closing

  24       locations, you know, the operating expenses that are incurred

  25       just by keeping the doors open and the lights on and staff in


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   1       place to run those sales.        It's just not getting -- it wasn't

   2       getting volume into the stores, in terms of customer traffic.

   3       And obviously, people, out of health concerns and economic

   4       concerns, are reluctant to make these types of bigger ticket

   5       expenditures that are involved in committing to purchase a

   6       piece of furniture.

   7                   So we are in a place now that I think we never

   8       hoped or expected to be when, you know, planning for this

   9       Chapter 11 was underway, certainly not any -- what anybody

  10       expected in negotiating a cash collateral budget or orders.

  11       And you know, everybody is doing the best they can under

  12       these extraordinary -- extraordinarily different

  13       circumstances to -- you know, obviously, paramount is the

  14       health and safety of everyone involved, but -- and then, you

  15       know, to treat all of our constituents, especially, you know,

  16       our employees and customers, as fairly as possible under the

  17       circumstances, but also to preserve and maximize value to the

  18       greatest extent possible.

  19                   And so this -- where this has left us is in a

  20       position where we've had to make some very, very hard

  21       decisions over the last several days.           And just so the -- to

  22       preview it for Your Honor, we've got a few different buckets

  23       of stores that the company has operated.            There were, you

  24       know, Art Van (indiscernible) branded mattress stores that

  25       were the subject of going concern sales that were largely


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   1       completed as of mid March.         There's another bucket of stores

   2       that are the, you know, Art Van stores, and the eight

   3       Maryland and Virginia-based Wolf stores that had been the

   4       subject of the closing -- the store closing sales that had

   5       begun just before the filing.         And then thirdly, we have the

   6       -- you know, what were going to be the Levin-Wolf going

   7       concern stores.

   8                    And you know, as to the ones where we still had

   9       ongoing GOBs and -- or were attempting to operate as much as

  10       possible in the ordinary course, the company has made the --

  11       you know, the difficult decision, effective as of today, to

  12       tell employees not to report to work at those locations.                We

  13       hope that -- and has, at least temporarily, shuttered these

  14       locations.     You know, we hope this is not forever, but the

  15       situation is extraordinarily difficult and very fluid.                And

  16       so, you know, we have to adapt consistent with our

  17       obligations and fiduciary duties to the facts as they

  18       (indiscernible)

  19                    THE COURT:    So I'm confused.       I apologize, Mr.

  20       Werkheiser.     So what stores are you not going -- or what

  21       stores is it that you're telling employees not to show up to,

  22       the store closing sale stores or all stores?

  23                    MR. WERKHEISER:     Effectively, all of the ones that

  24       we still have ongoing store closing sales or that we're

  25       operating in the ordinary course, which is basically the


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   1       Levin-Wolf sale, so (indiscernible)

   2                   THE COURT:     So the Wolf and -- so the Wolf and

   3       Levin stores are closed, as well?

   4                   MR. WERKHEISER:      At least temporarily, Your Honor,

   5       yes.   And --

   6                   THE COURT:     What about the mattress stores?

   7                   MR. WERKHEISER:      Your Honor, the mattress stores,

   8       with the exception, I believe, of the Levin Mattress stores -

   9       - so all of the Art Van or -- I think the brand was Pure

  10       Sleep branded mattress stores were already, to my knowledge,

  11       involved in store closing sales.          And as I understand it, the

  12       nature of that inventory is such that they tend to sell down

  13       quite quickly in a store closing sale context.              And so most

  14       of those, if not all of them, were already through their

  15       process as of last week.

  16                   THE COURT:     All right.

  17                   MR. WERKHEISER:      (Indiscernible)

  18                   THE COURT:     So, as of tomorrow, you will be not

  19       operating business.

  20                   MR. WERKHEISER:      With the exception of --

  21                   THE COURT:     Online?

  22                   MR. WERKHEISER:      -- some back office functions and

  23       distribution center functions and the headquarters.               And then

  24       the sort of fulfillment side of the retail stores, I believe,

  25       for a few days is contemplated to continue open -- operating


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   1       to try to, you know, allow customers to pick up have

   2       delivered product that they've recently ordered.

   3                   THE COURT:     Okay.    So I guess the -- well, to cut

   4       to the chase, that means we're not having a hearing tomorrow.

   5                   MR. WERKHEISER:      I don't want to speak for

   6       everybody, Your Honor, on the phone.           But I think that is the

   7       debtor's view, and Mr. Barrie can speak more to that.

   8                   I guess, before we sort of segue into talking about

   9       tomorrow's hearing, Your Honor, I just -- I do want to make

  10       clear that, you know, we are trying to explore with our

  11       lenders and our other stakeholders, you know, other options,

  12       short of outright (indiscernible) liquidation.              And you know,

  13       we're aware, for example, that in a -- in the Craftworks

  14       case, currently pending before Judge Shannon, they've --

  15                   THE COURT:     I think that's --

  16                   MR. WERKHEISER:      -- (indiscernible)

  17                   THE COURT:     Actually, I think that's confidential

  18       information, Mr. Werkheiser.

  19                   MR. WERKHEISER:      Oh --

  20                   THE COURT:     That call was not on the record today.

  21                   MR. WERKHEISER:      I was not aware of that, I'm

  22       sorry, Your Honor.

  23                   So let me just say then, conceptually, we are

  24       looking at the possibility of a -- you know, going idle or

  25       going into a state of dormancy for a period of time, and the


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   1       possibility then of either, you know, reopening stores, some

   2       subset of stores as -- either in furtherance of the going

   3       concern transaction, if there's still one to be had at that

   4       point, or -- you know, or closing sales and an orderly

   5       liquidation, you know, essentially, once the economic and the

   6       retail environment and the safety environment have improved

   7       to a degree that we can do that.

   8                   It is, you know, a number -- there are a number of

   9       scenarios under consideration.          I think, of every available

  10       scenario, that is probably the, you know, most attractive one

  11       that we have.      And we are, right now, engaging in a dialogue

  12       with Wells Fargo and our term loan lenders to see if there's

  13       a way to pursue that alternative.          The -- you know, but the

  14       reality of the situation is that we cannot continue to burn

  15       cash at the rate that we've been, given that there's

  16       virtually no revenue coming into the company right now.

  17                   And you know, we -- of course -- and of course, for

  18       us to be able to do that, we need cooperation from the ABL

  19       agent and the term loan lenders and, you know, need

  20       everyone's assurances that, while we are having these

  21       dialogues, that, you know, they'll take no precipitous action

  22       to make that -- an already difficult situation worse by, you

  23       know, sweeping all of the cash, for example, that are in the

  24       debtors' cash collection accounts and leaving us without even

  25       the cash necessary to fund those operating and restructuring


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   1       expenses already incurred or that might be incurred

   2       imminently, as we're, you know, trying to navigate this

   3       situation.

   4                    THE COURT:    All right.     Thank you, Mr. Werkheiser.

   5                    MR. WERKHEISER:     Thank you, Your Honor.

   6                    THE COURT:    Obviously distressing news, but I

   7       appreciate the update.

   8                    Would anyone like to be heard in connection with

   9       Mr. Werkheiser's report?        The lenders, the committee, the

  10       liquidator, anybody?

  11                    MS. FELDSHER:     Your Honor --

  12                    MR. FOX:    Your Honor --

  13                    MS. FELDSHER:     -- this is Jennifer --

  14                    MR. FOX:    -- Steve Fox -- go ahead, Jennifer.

  15                    THE COURT:    Ms. Feldsher?

  16                    MS. FELDSHER:     Your Honor, this is Jennifer

  17       Feldsher from Morgan Lewis on behalf of Wells Fargo, the ABL

  18       lender.

  19                    Your Honor, these are unprecedented times, and

  20       we're -- I personally was on, you know, calls that aren't of

  21       public record earlier today.         This has hit retail, it has hit

  22       restaurants and other industries very hard.             And it has hit,

  23       you know, a lot of cases and a lot of people, and we are

  24       mindful of that.

  25                    Your Honor, a lot of this information and the


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   1       debtors' decisions, unfortunately, are coming at us minutes

   2       before the -- before these hearings.           These are not

   3       discussions that -- you know, I would say that where the

   4       debtors are, as opposed to other cases, is they haven't fully

   5       come to their creditors, other than to say this is somebody

   6       else's problem and, you know, put -- you know, fix it for us

   7       or don't sweep or do these things.

   8                   I think that we are certainly discussing with the

   9       debtors -- we want to try to find a path forward.              We would

  10       like to find a path that makes sense for all stakeholders

  11       here, but it's going to require extraordinary measures

  12       because we are living through extraordinary times, to try to

  13       figure out what is the path forward, what's the path that

  14       preserves, you know, value, that provides as much value as

  15       possible to those that are impacted by these decisions.

  16                   And unfortunately, we haven't gotten the

  17       information that we need from the company to be able to even

  18       consider a full wind-down plan.          So, you know, you heard Mr.

  19       Werkheiser, I think asking for an advisory opinion on

  20       remedies that the lenders can take.           We're not -- you know,

  21       we're in fact-finding mode and, you know, they're asking for

  22       advisory opinions.       I mean, I -- they're in default today

  23       under their cash collateral budget, they understand that.                We

  24       are trying to work with them productively.             There are a

  25       number of outstanding items.


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   1                   That's all I can say to you at this time because

   2       that is truthful in where we are with the parties.               And you

   3       know, we're trying to cope and we're trying to absorb all of

   4       this in the best way that we can.          So I'm happy to take any

   5       questions that Your Honor has, but a lot what was said on the

   6       call has -- is complete news and -- just to the ABL lenders.

   7                   THE COURT:     Okay.    Yeah, it's news to me, too, of

   8       course.    Have you actually issued a notice of default,

   9       though?

  10                   MS. FELDSHER:      We have not yet, Your Honor.

  11                   THE COURT:     Okay.    Thank you.

  12                   Anyone else?

  13                   MR. WERKHEISER:      Your Honor, it's Mr. Werkheiser.

  14       If I could respond briefly?

  15                   THE COURT:     Yes, Mr. Werkheiser.

  16                   MR. WERKHEISER:      So, Your Honor, I think we have a

  17       -- obviously, somewhat of a difference of opinion about

  18       information flow, but -- and I don't think we need to belabor

  19       that point.     We are committed to -- and I think we have been

  20       giving as much information as possible to the lenders.                It's

  21       just, you know, the rapidity and severity of the

  22       circumstances, you know, have limited how much useful

  23       information we have, and therefore we can share at any given

  24       moment in time.      But we're committed to making that

  25       information available.


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   1                   But -- and I also want to be clear.           I was not

   2       asking Your Honor to limit their remedies or prevent the

   3       lenders from having whatever rights are available to them

   4       under the Code and the interim cash collateral order today.

   5       But we are concerned that we are in a situation that nobody

   6       could have anticipated.        And because there has been a lack of

   7       communication, we want to make sure that the debtors are not

   8       left in a position where they're not able to meet those

   9       committed expenses that have been incurred or cannot be

  10       avoided to be incurred in the near term.

  11                   And my point was simply that we need to have that

  12       communication going forward.         But then we absolutely reserve

  13       our rights to come before the Court if we need to, to address

  14       those sorts of issues.        And you know, we wanted to preview

  15       that we had concerns, but not asking for Your Honor to do

  16       anything or to grant any relief today.

  17                   THE COURT:     Well, you're not going to get anything,

  18       so that's good.      Obviously --

  19                   MR. FOX:     Your Honor --

  20                   THE COURT:     -- the cash collateral --

  21                   MR. FOX:     -- if I --

  22                   THE COURT:     -- order --

  23                   MR. FOX:     If I may?

  24                   THE COURT:     Just a second.

  25                   Actually, you know, the cash collateral says what


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   1       it says, and if there's a default that's called, there are

   2       certain things that occur.         I think that all the lenders and

   3       creditors probably understand that this is a difficult

   4       situation, but I'm sure they're all still focused on

   5       maximizing their recoveries, even though what "maximizing"

   6       means today may not be what "maximizing" meant on Monday, and

   7       it is what it is.

   8                   But I -- what's important, I'm -- I -- like Ms.

   9       Feldsher, I'm in information-gathering mode at this point,

  10       and this is just a status conference; it's not a hearing.

  11       But all of this is very important and I appreciate the

  12       information.

  13                   And I interrupted someone, and I don't know who it

  14       was.

  15                   MR. FOX:     Your Honor, thank you.        This is Steven

  16       Fox from Riemer & Braunstein.         As Your Honor will recall, we

  17       represent the proposed consultant Hilco and Gordon Brothers.

  18       We, too, share everybody's disappointment in the necessity,

  19       from the debtors' standpoint, of making this difficult

  20       decision.

  21                   We, too, were a bit in the dark up until minutes

  22       before this hearing, when Mr. Barrie sent me an email that

  23       the debtors had made this decision and were not planning on

  24       going forward tomorrow.        Your Honor probably is aware we did

  25       file a declaration in support of the motion earlier today,


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   1       with the expectation that we were going forward tomorrow.                So

   2       this came quite as a shock to us, shortly before the hearing

   3       this afternoon.

   4                   We do have more than 40 people out in the field,

   5       who have been continuing to perform services in anticipation

   6       of going forward tomorrow.         We've been incurring expenses to

   7       support the debtors' efforts in keeping the store closing

   8       sales going for the benefit of the estate and the creditors,

   9       with the expectation that the debtors were going to conduct

  10       themselves in good faith and move forward in connection with

  11       the motion.

  12                   We continue to provide these services at the

  13       request of the debtors, as well as the ABL lenders.               And we

  14       will continue to stand by to support the estates' efforts,

  15       whatever decisions are ultimately made, in terms of what the

  16       path forward will be.

  17                   And we, too, will commit to work with the ABL

  18       lenders, the term lenders, and the debtors, and now the

  19       committee, having recently been appointed, to find the

  20       optimal path forward to maximize value because, as Your Honor

  21       will recall, we also, through an affiliate, hold pre-petition

  22       term debt, so our interests are aligned with the rest of the

  23       constituents within the estate to maximize recovery here for,

  24       not only the benefit of ourselves, but for the benefit of

  25       others involved.      And we look forward to having an


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   1       opportunity to come back and resolve these issues when a path

   2       forward is ultimately resolved.          Thank you, Your Honor.

   3                   THE COURT:     Thank you, Mr. Fox.

   4                   Mr. Wolf?

   5                   UNIDENTIFIED:      Your Honor, this --

   6                   MR. SANDLER:      Your Honor, it's Brad Sandler.          If I

   7       may be heard.

   8                   THE COURT:     Yes, you may, Mr. Sandler.

   9                   MR. SANDLER:      Thank you, Your Honor.        And as you

  10       noted, just for the record, Brad Sandler, Pachulski Stang,

  11       for the committee.

  12                   Your Honor, you know, the committee, having only

  13       selected us as counsel yesterday, having been informed

  14       yesterday, this is all new to us, but none of it really

  15       surprising.     The committee's overarching goal was to, I'll

  16       just say maximize value, like everybody else.             But there are

  17       other things besides, you know, dollar recoveries.

  18                   For example, with the Wolf Levin going concern

  19       sale, we were hoping that 44 stores would be saved, thousands

  20       of jobs would be saved.        Maybe that will happen down the

  21       road.    But as -- you know, certainly, with the coronavirus,

  22       this unprecedented shutdown throughout the country that

  23       certainly we have never seen, and hopefully never will see

  24       again, Simon Properties closing their malls, L Brands,

  25       JCPenney, you know, the Gap, you know, many, many retailers


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   1       around the country are starting to shut down.             And to have

   2       the debtor do that at this time, frankly, from our

   3       perspective, makes a lot of sense, to put everything on ice.

   4                   First of all, it's important for the employees, to

   5       make sure that they're not exposed potentially to the virus.

   6       It's also something that -- right?           We're talking about

   7       something that is not perishable.          You know, furniture,

   8       whether, you know, it's in the store today or in the store,

   9       you know, a month from now or two months from now, it's still

  10       the same furniture.       So it should be relatively easy to shut

  11       the debtor down without any value that would dissipate

  12       because of the furniture somehow, you know, getting destroyed

  13       or damaged.

  14                   You know, it seems to me, Your Honor, that, in

  15       these times -- right?        Restructuring professionals are, in

  16       part, supposed to come up with creative solutions to very,

  17       very tough problems.       And it may be easy to look at this

  18       situation and pull the plug and say let's convert the case to

  19       a Chapter 7.     I'm not really sure what that gets you.            If

  20       people aren't shopping right now because everybody is shut in

  21       their, you know, respective abodes, Chapter 7 isn't going to

  22       generate any more value.

  23                   And it seems to me that this is a creative approach

  24       to put everything on ice.        And hopefully, you know, at some

  25       time period, whether it's 30 days, 60 days, 90 days, whatever


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   1       that time period may be, to, you know, turn the lights back

   2       on and resume the liquidation of the stores and hopefully

   3       find a going concern for the Wolf Levin properties.

   4                   And whether, you know, Robert Levin is the

   5       purchaser at that time, whether he's still interested, we

   6       don't know.     But the best chance in certainly the committee's

   7       mind right now, to preserve value, is to put everything on

   8       ice and let's come back to in, you know, a month or two and

   9       see where we are.

  10                   MR. BARRIE:      Your Honor (indiscernible)

  11                   THE COURT:     Thank you, Mr. Sandler.

  12                   MR. BARRIE:      This is Michael Barrie.        If I could

  13       just add a lit bit more color to what Mr. Sandler has just

  14       spoken about.

  15                   THE COURT:     Yes.

  16                   MR. BARRIE:      So mister (indiscernible) did a

  17       (indiscernible) explain (indiscernible) where we are and how

  18       we got there, and I appreciate all of the constituents', you

  19       know, requests and, to some extent, a little bit of

  20       frustration about getting information.            But again, this is a

  21       fluid -- this is a fluid time where no one had any

  22       expectation that the entire world would come to a screeching

  23       halt.

  24                   We are working with Wells, we have given them

  25       information about 48 hours ago.          We're starting to get some


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   1       comments and feedback on that information now.              But as Mr.

   2       Sandler said, the thought process would be kind of -- and

   3       we've set this forth in a more fulsome motion that the Court

   4       can hear.     But main -- find a way to maintain a -- almost a

   5       status quo going forward, ensure that the employees who have

   6       worked to realize a return for the inventory for the benefit

   7       of Wells, make sure they're compensated.

   8                   Make sure our consumers know that -- who have gift

   9       cards or who have creditors, you know, make sure that they're

  10       aware of how -- you know, through communications on the

  11       website, emails, whatever, how they -- you know, they will be

  12       treated.    But the idea is let's not make this a

  13       (indiscernible) thing.        But the reality of the situation is,

  14       is that we can't have a going out of business sale if there's

  15       no one to come and buy the merchandise.

  16                   On the Levin side -- on the Levin side, one of the

  17       bigger issues that we're faced with are half of those stores

  18       are in Pennsylvania, I think 27 of them.            The Commonwealth of

  19       Pennsylvania closed all those stores by order of the

  20       Governor.     So they -- being open is not even an option for

  21       any of them.

  22                   So the thought is let's put this thing in a coma

  23       for a little bit, let's skinny down this budget.              Let's work

  24       with Wells to make sure that the people who are working hard

  25       to maximize recovery so far are being taken care of, and then


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   1       make sure that consumers know how they can be taken care of.

   2       And then let's -- let us work with Wells to figure out how

   3       this works in the near term.         Let us -- knowing full well

   4       that we can use this time to work out if there are bulk

   5       inventory sale opportunities; use this time to further

   6       discuss the Levin sale, keep that going because that's mostly

   7       an attorney-driven piece; discuss potential lease disposition

   8       options under 365(d) and discuss with our credit card

   9       processors returning monies for the increased reserves they

  10       had taken during the preference period, which all can be done

  11       in the context of during this temporary -- during this

  12       temporary -- for lack of a better word -- coma, and then have

  13       some sort of procedure going forward -- again, we'll do this

  14       by motion -- that truly puts those emergent needs that have

  15       to be decided because of destruction of proper threats or

  16       threats to life and safety, putting those needs on an

  17       emergent basis that have to be heard, but holding all other

  18       non-emergent, monetary-type relief until such point that the

  19       parties can really deal with it as it comes down.

  20                   And we just felt that this is a better framework

  21       for preserving the value of what's there, as opposed to

  22       simply just pulling the plug and walking way from everything.

  23       So --

  24                   THE COURT:     All right.

  25                   MR. BARRIE:      -- you know, in that context, with


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   1       respect to the Hilco retention, Your Honor, in that context,

   2       we just don't feel it's appropriate to go forward on a

   3       retention hearing for something that hopefully will happen

   4       eventually, but is not going to be happening in the next

   5       couple of days.

   6                   THE COURT:     All right.     Now I'm confused.       So you

   7       do want to go forward tomorrow?

   8                   MR. BARRIE:      No, no, no.     We don't want to go

   9       forward.    We don't think it's necessary to go forward on that

  10       because there's not going to be a going out of business sale

  11       right now, so we don't think that it's necessary to go

  12       forward on that until that issue materializes.              We just think

  13       it's a -- we do think Hilco's partnership is very important

  14       and we do intend to go forward with it at some point, just

  15       tomorrow is not the day to do it.

  16                   THE COURT:     All right.     And you don't want to set a

  17       date for that at this time?

  18                   MR. BARRIE:      We can set a date.      I don't have a

  19       problem setting a date just to keep it on the calendar.                But

  20       I would suspect that that date would be probably mid to later

  21       April.

  22                   THE COURT:     All right.     Well, we have a hearing on

  23       April 6th, so we can continue it to then, at least for now.

  24                   Any objection to continuing that until April 6th?

  25             (No verbal response)


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   1                   THE COURT:     Okay.    I don't hear any.

   2                   We'll obviously not go forward tomorrow, and that's

   3       a shame, mainly because it's a shame for the business; and,

   4       second, it's a shame because we were hoping to see if we

   5       could figure out how to do this, and this was going to be one

   6       of the first opportunities.         But that's nothing compared to

   7       the loss of productivity and recovery to the employees and

   8       the creditors as a result of these developments, which are

   9       clearly outside the control of anybody on this call, that's

  10       for sure.

  11                   So this has been very helpful.          We'll cancel

  12       tomorrow's hearing.       Is there anything anybody else would

  13       like to offer to the Court?

  14                   MR. WERKHEISER:      Your Honor, this is Greg

  15       Werkheiser.

  16                   UNIDENTIFIED:      Your Honor --

  17                   MR. WERKHEISER:      I just wanted to mention that we

  18       do have a -- I think a March 31st hearing scheduled with the

  19       Court that we are trying to keep on the calendar, if at all

  20       possible.     I mentioned that there were some 60 odd locations

  21       that the debtors are --

  22                   THE COURT:     Yeah, I have that --

  23                   MR. WERKHEISER:      -- (indiscernible)

  24                   THE COURT:     I have that on my -- yes, I have that

  25       on my calendar.      But that's a special hearing, that's not an


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   1       omnibus, so that's why I didn't mention it.             The April 6th

   2       hearing is the second day hearing for the case, so that's why

   3       I mentioned that hearing.        But now, you still have the March

   4       --

   5                   MR. WERKHEISER:      Okay (indiscernible)

   6                   THE COURT:     -- you still have the March 31st

   7       hearing.

   8                   MR. WERKHEISER:      All right.     Thank you, Your Honor.

   9                   THE COURT:     Anyone else?

  10                   MR. BARRIE:      The only other -- the only other

  11       request, given that things are so fluid, Your Honor, and

  12       things are ever development, I don't think it's needed for

  13       tomorrow.     But maybe perhaps early next week we could just

  14       have one further status conference, so, if there are any

  15       issues that the Court can help the parties resolve on a

  16       little more of an informal basis, and also to update the

  17       parties and the Court as to what's going on with the matters,

  18       maybe earlier next week might be a good time to have a status

  19       conference?

  20                   THE COURT:     Sure.    I'm available.      It's a very

  21       empty calendar, and this is clearly an important and time-

  22       sensitive matter.       So I'm available pretty much every -- I

  23       have a hearing Wednesday at 2, and I have -- I'm not free

  24       Thursday morning, and I have a lunch conference on Friday.

  25       Other than that, I'm wide open.          Monday seems early.       How


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   1       about Tuesday?

   2                   MR. BARRIE:      Yeah.   Yeah.    Tuesday would be fine

   3       with us, Your Honor.

   4                   THE COURT:     Do we have -- can we do 10 a.m., or

   5       does that inconvenience people?          I don't know if we have

   6       people on the west coast or not.

   7                   MR. BARRIE:      I don't believe we do.

   8                   THE COURT:     All right.

   9                   MR. BARRIE:      10 a.m. works for the debtors.

  10                   THE COURT:     All right.     That will be a --

  11                   MR. SANDLER:      Works for the committee.

  12                   THE COURT:     Okay.     That will just be a telephonic,

  13       no fancy Skype for Business, that will just be a telephonic

  14       status conference.

  15                   MR. WERKHEISER:      Thank you, Your Honor.        We'll get

  16       that notice out.

  17                   UNIDENTIFIED:      (Indiscernible)

  18                   THE COURT:     Great.    All right.     And Mr. Barrie or

  19       Mr. Werkheiser, if you could just issue a notice of

  20       continuation of the hearing for tomorrow until April 6th on

  21       the docket, that would be great.

  22                   MR. BARRIE:      Will do.

  23                   MR. WERKHEISER:      Yes, Your Honor.

  24                   THE COURT:     All right.     Anything further?

  25             (No verbal response)


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   1                   THE COURT:     All right.      Well, thank you everyone.

   2                   UNIDENTIFIED:      That's it, Your Honor.

   3                   THE COURT:     Bad news, but good to --

   4             (Proceedings concluded at 2:37 p.m.)

   5                                          *****




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   1                                     CERTIFICATION

   2                   I certify that the foregoing is a correct

   3       transcript from the electronic sound recording of the

   4       proceedings in the above-entitled matter to the best of my

   5       knowledge and ability.

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  10                                                       March 26, 2020

  11       Coleen Rand, AAERT Cert. No. 341

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                                  EXHIBIT V




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                               UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

                                         .            Chapter 11
         IN RE:                          .
                                         .            Case No. 20-10553 (CSS)
         ART VAN FURNITURE, LLC, et al., .
                                         .            Courtroom No. 6
                                         .            824 North Market Street
                                         .            Wilmington, Delaware 19801
                                         .
                            Debtors.     .            March 31, 2020
         . . . . . . . . . . . . . . . . .            1:00 P.M.

                             TRANSCRIPT OF STATUS HEARING
                     BEFORE THE HONORABLE CHRISTOPHER S. SONTCHI
                            UNITED STATES BANKRUPTCY JUDGE

         APPEARANCES:

         For the Debtors:               Gregory G. Werkheiser, Esquire
                                        Michael J. Barrie, Esquire
                                        Jennifer Hoover, Esquire
                                        Kevin Capuzzi, Esquire
                                        John C. Gentile, Esquire
                                        BENESCH, FRIEDLANDER, COPLAN
                                          & ARONOFF LLP
                                        222 Delaware Avenue, Suite 801
                                        Wilmington, Delaware 19801



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                                        (302)654-8080
                                        Email: gmatthews@reliable-co.com

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         transcript produced by transcription service.




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                                  Harrisburg, Pennsylvania 17120




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              (Proceedings commence at 1:01 p.m.)

                       THE COURT:     Good afternoon everybody.        This is

         Judge Sontchi.      This is the Art Van hearing.         I know we’re

         all appearing remotely.        Obviously, if you could please make

         sure you mute your phones unless you’re speaking.              It’s

         particularly important if you’re working from home with

         background noise or if you’re using a cell phone.              So, thank

         you very much for your courtesy.

                       I did sign the only matter that was listed on the

         agenda as going forward.        I signed that order just a little

         while ago under certification of counsel, but I’d like to

         turn it over to the debtors, if I may, for a update on the

         current situation with the case and any scheduling matters

         that might be related to that and then, of course, once the

         debtors have made their report I would welcome any

         contributions from any other parties in interest who wish to

         be heard.

                       MR. WERKHEISER:      Good afternoon, Your Honor.          It’s

         Gregory Werkheiser of Benesch, proposed counsel for the

         debtors.     Thank you for making this time available to us.

                       Before we get into this contemplated status

         conference, Your Honor, I do have to go back to the rejection

         motion because we were apprised by Ms. Heilman a short time

         ago that one of her clients has an unresolved issue with the

         form of issue that we were not aware until after the




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         certification had been submitted this morning.              And so we

         have been communicating with her to try to resolve that.                I

         don’t know whether that issue is or is not resolved at this

         point.    And I apologize, we did not have the opportunity in

         the short amount of time available after hearing from Ms.

         Heilman before the hearing to communicate with Chambers, to

         notify Chambers that that response from Ms. Heilman had been

         received.

                       The issue, as I understand it -- well, if I could

         just generally, for the benefit of the parties on the phone

         and the court, a number of parties had sought, and I think we

         had provided, confirmation that as to all of the rejected

         locations that are incorporated in the proposed order that

         was submitted to the court this morning the debtors believe

         that all of the salable inventory in those locations, which

         was primarily mattresses, these were Art Van Pure Sleep

         stores, has been removed from those locations or would be

         removed by the end of the day today, March 31st.              All of the

         surrendering notices that were contemplated by the motion did

         go out to the counterparties to the leases last Friday and

         should have been received by those parties yesterday or at

         the very latest today by overnight courier.

                       So, putting that issue aside I just don’t know,

         there might be a language issue that Ms. Heilman has still on

         the order and so if I could pause momentarily and let her




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         have an opportunity or her co-counsel have an opportunity to

         respond we can try to see if this is something that is easily

         resolvable or where we stand.

                       THE COURT:     Okay.

                       MR. GANZ:    Good afternoon, Your Honor.         Craig

         Ganz, Ballard Spahr on behalf of Brixmor and various other

         landlords.

                       This kind of informal objection that we were

         working through specifically related to Brixmor.              And as I

         understand, and I have been cc’d on the emails that have gone

         back and forth between Mr. Werkheiser and Ms. Heilman, that I

         think we largely have worked out everything as far as the

         language.     Just making sure that there’s a representation on

         the record here that the debtors are, in fact, out of the

         locations notwithstanding anything in the order and if they

         are out just preserving all rights to any asserted claims

         that we may have to the extent that there are other issues

         relating to that abandonment of property and whether that was

         accomplished or not.

                       The short answer is I think we’re resolved on

         those issues.

                       THE COURT:     Okay.   So it sounds like your resolved

         and simply based on the representations of Mr. Werkheiser and

         his client with regard to the fact that they’ve exited the

         location and you’re reserving all your rights with regard to




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         whether they have executed it correctly or completely.                We

         will deal with that going forward if we have to.

                       MR. GANZ:    Exactly, Your Honor.        Thank you.

                       THE COURT:     All right.

                       MR. WERKHEISER:      Thank you, Your Honor.

                       I think we should move forward to the status

         update.    So, Your Honor, when we were last before the court,

         I believe it was last Thursday, March 26th, at that time the

         debtors reported that they believed they had, at least, an

         agreement in principal with Wells Fargo, the prepetition ABL

         agent and on a path forward for a mothball motion or a

         suspension motion, you know, very short hands for these

         things.    The concept was that we would reduce the company’s

         remaining operations to the bare minimum and to suspend, to

         the greatest extent possible, activity in the bankruptcy case

         over the next short period of time to better assess the

         outcome of the Coronavirus situation and most viable

         alternatives to the company going forward to maximize value.

                       So, despite that conceptual agreement there are,

         obviously, important details that still needed to be worked

         out related to the budget and other details of that

         arrangement.     I think what we found, as the parties were

         working round the clock on these issues since before we were

         in court last Thursday and throughout the weekend, was that

         due to a number of facts that are somewhat unique to these




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         debtors and this case we were not able to get to a point

         where we had the agent support and consent for the mothball

         arrangement primarily because of the company’s liquidity

         issues and cash needs, both as they exist today based on

         obligations that have accrued thus far since the filing and

         the expected obligations that would be incurred going forward

         even with reducing and deferring obligations for, you know,

         rent and reducing other activities to the bare minimum.

                       THE COURT:     Mr. Werkheiser, could you keep your

         voice up, please, I can’t hear you.

                       MR. WERKHEISER:      Yes.   I’m sorry.

                       Just by way of example, Your Honor, as is somewhat

         unique to this debtor as opposed to some others the debtor

         had a large number of employees, I think in excess of 4,000,

         as of the petition date.        A lot of those employees are sales

         personnel who earn commissions on furniture only when it

         actually delivers, which means there is a long tail on

         employee compensation.        And so, there was a large portion of

         employee compensation that still remains outstanding right

         now from the couple of weeks that the debtors were operating

         during teh bankruptcy.

                       In addition, this company as a partially self-

         funded health insurance plan which, again, means that for

         those employee benefits there are fairly substantial -- there

         is a fairly substantial tail.          And so the all-in number for




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         those types of obligations is something approaching $10

         million dollars based on our best estimates of what is owed

         right now and the company has, you know, cash in the

         neighborhood of, I believe, $12 to $13 million dollars now

         just to put, you know, a high level -- just to paint a high

         level picture of where things stand financially for the

         company.

                       And so I can’t -- you know, we cannot speak for

         Wells Fargo’s decision making process, but, you know, we do

         understand that as we attempt to model the various scenarios

         for mothballing the company over the next six, seven, eight

         weeks as appropriate the challenge always became how to

         achieve a liquidity event on the backend of that period.

         That was generating sufficient value both to satisfy any

         deferred obligations and to provide a recovery to the senior

         secured lenders at a level that was acceptable to them.

         Also, how to manage liquidity during that period under

         certain of the scenarios that we considered.

                       Those scenarios have included, you know, among

         other things the resumption of GOB sales, various bulk sale

         scenarios for inventory, consignment arrangements and other

         potential transactions with parties that have been under

         discussion for, you know, the last ten days or more

         including, as we heard at the last status conference, the

         possibility of resuming a transaction with the Levin Partners




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         for, at least, a subset of those assets.

                       And, you know, all those various alternatives,

         given the circumstances, the uncertainty surrounding the

         Coronavirus impact on the business and on the world in

         general, you know, creates a lot of uncertainty both as to

         timing and eventual recoveries.          And then some of those

         alternatives such as GOB sales require the company to ramp-up

         in advance and incur, you know, fairly substantial expenses

         in advance to bring employees back on, to incur advertising

         expense, to spruce up the stores as necessary to resume, you

         know, store closing sales at those locations.             The numbers

         are just not rosy from the debtor’s perspective and we gather

         from our lenders’ perspective given their unwillingness to go

         forward on that basis.

                       Your Honor, I think where that leaves us at this

         time is with few options none of which are particularly

         attractive for anyone here.         We are operating subject to an

         alleged termination declaration that was issued by Wells

         Fargo as the agent on March 19th.           The so-called notice --

         remedies notice period under the cash collateral order was

         extended, but only through the end of the day today.               We do

         not know at this time whether Wells Fargo is prepared to

         further extend that beyond today and absent that or absent

         some extraordinary relief from the court the debtors would no

         longer have access to cash collateral at the close of




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         business -- excuse me, at the end of the day today.

                       The other issues, I think, Your Honor, that are

         still being worked through at this time relate to funding

         obligations that may exist under the cash collateral order

         during this remedies notice period.           Paragraph 2 of the cash

         collateral order does require funding for employee payroll,

         certain other emergency expenses and other obligations that

         would be approved by the agent.

                       The company does have outstanding funding requests

         to the agent related to those obligations that have not yet

         been acted upon.      Finally, the order does contemplate the

         establishment of carve-out reserves and a carve-out trigger

         notice has been issued.        We have to confirm that those

         arrangements are in place.

                       So, given all of that, Your Honor, I think while

         no final decision has been made by the debtors, you know,

         absent a significant change in the trajectory of these cases

         over the next, you know, twelve hours or several days, if we

         can get beyond the next twelve hours, we are looking at a

         scenario where the debtors will likely have no choice but to

         move forward with seeking conversion of these cases to a

         Chapter 7 liquidation.

                       It is our hope and our intention to accomplish

         that in coordination with our lenders, the committee and our

         other stakeholders, and to do as orderly and as soft as




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         possible a conversion if, in fact, there is no other choice

         at this point.      That provides to the fullest extent possible

         to satisfy the employee obligations and the other accrued

         obligations that are required to be summoned under the cash

         collateral order, but we are not there yet.             You know, we do

         not have a clear indication from the agent where we will end

         up on those issues.

                       I think, Your Honor, I’ve been talking quite a

         while and I will pause here and I’m happy to answer Your

         Honor’s questions or respond to questions or comments from

         any of the other parties on the phone.

                       THE COURT:     No.    I don’t have any questions.

                       Does anyone else wish to be heard?

                       MS. FELDSHER:        Your Honor, this is Jennifer

         Feldsher from Morgan Lewis on behalf of Wells Fargo.               If it

         would be helpful for Your Honor I can, kind of, weigh in a

         little bit where Mr. Werkheiser left pauses, I think, in his

         presentation on where the ABL lenders thinking is at and to

         correct a couple of, you know, what I think are, at least,

         misunderstandings in our view with respect to what is or

         isn’t’ required of the ABL lender in this case.

                       Your Honor, I want to start by saying that Wells

         Fargo, as Your Honor has heard from status conference after

         status conference in this case, you know, we, like everybody

         else has had to adopt to the new normal or, you know, current




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         circumstances which were completely unforeseen.              And one of

         the things that we’re seeing across these industries that

         have been so terribly hit by the pandemic and the, you know,

         shut down orders and things like that is in order for these

         Chapter 11 cases to continue or to have any chance of

         success, and we’ve told this to Your Honor previously so I

         won’t dwell on it or take up a lot of time, but they require

         creative solutions,

                       Most importantly, a willing partnership between

         the debtors and their stakeholders, and a fair amount of

         cooperation from everybody because we’re all dealing with

         this together and in these unforeseen circumstances they are

         cataclysmic from a top-line number.           The debtor has

         absolutely no revenue coming in and so we are left to deal

         with how to get from point a to point b, and all of the

         costs, and all of the stakeholders that are implicated

         including employees, including landlords, including lenders

         with a finite amount of cash and a totally uncertain path

         forward, at least, in the near term.

                       Within that Wells Fargo has funded every single

         payroll request that the debtors have made for current pay,

         for employees that have worked and for payroll requests that

         has come in.     What has occurred, and Your Honor might recall

         from a prior status conference where I was notified right

         before coming into court, I believe, on the 20th, on a status




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         conference that the debtors had determined to suspend all of

         their operations even though they were still operating in

         some locations and there were not necessarily shutdown orders

         in place at that time.

                       They had determined to suspend all operations

         immediately, to terminate all employees; not all, but

         significantly all of their employees, certainly all of the

         store levels.      That was not something that was done in

         coordination with the lenders, either the ABL lender or the

         term lender, or even the consultant as far as we know who, as

         Your Honor remembers, had remained even though their

         retention was still up in the air had remained to support the

         debtor’s efforts to try to continue a GOB sale.

                       So, as a result of terminating their employees, as

         Mr. Werkheiser described, the debtors now have significant

         accrued PTO commissions, other benefits related to the

         terminated employees as well as healthcare obligations.                Most

         of these were not included in any budget and certainly in the

         cash collateral budget because there was no contemplation of

         a wholesale mass termination of employees.             Could these have

         been mitigated if employees had been furloughed, could these

         have been mitigated by a, you know, less drastic more spaced

         out termination we will never know.           We weren’t part of the

         terminations to begin with.         We will never know, but now

         these expenses, as Mr. Werkheiser explained, exist.




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                       Just the employee obligations alone, Your Honor,

         just because I think it’s really important given what Mr.

         Werkheiser disclosed as the cash position, total over $14

         million dollars.      So, if the debtors have cash, as Mr.

         Werkheiser said --

                       THE COURT:     I’m sorry, 14?

                       MS. FELDSHER:     14, Your Honor, correct.         That is

         an estimate on the healthcare costs and that’s using an

         estimate, Your Honor, that’s a little bit lower than what Mr.

         Werkheiser just told you.         In materials that they have

         provided to the ABL lender we’re looking at a number for

         anticipated healthcare obligations of $8.5 and change million

         dollars and Mr. Werkheiser, I believe, just told the court

         that he’s now using a $10 million dollar number.

                       Your Honor, that’s part of the problem here to is

         there are lots of demands, including one last night, that all

         of these amounts need to be paid despite the fact that there

         just isn’t enough cash to pay them, but the numbers detailed

         on the numbers, we asked for this detail, we don’t have the

         information on it, but we can tell you in the aggregate these

         numbers are far in excess of what the debtors have in cash

         today.    And then if you take into account, as Mr. Werkheiser

         said, the fee carve-out that is required to be funded, and

         they had demanded as well, that is in excess of, I believe,

         another $2 and a half million dollars.




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                       So, again, 14, two and a half, and that’s not even

         taking into account any other expenses that might result.

         So, our concern is that, yes, the parties are moving forward.

         There hasn’t been a proposal that’s been presented to the

         lenders that shows a market improvement in outcomes in a

         Chapter 11 then in a Chapter 7, and the expenses associated

         with the Chapter 11 are typically illustratively much higher.

         There is also no scenario that the debtors have put forth

         that they believe provides the ABL lenders with payment in

         full.

                       At the end of the day whether that’s a resumption

         of the GOB process or a bulk sale, as the debtors have

         suggested, they might be forced into because they won’t have

         enough cash by their own budget to get through to a GOB

         process.     There is no scenario under which the debtors

         believe that Wells Fargo will be paid in full let alone other

         creditors.     And yet what we have are demands to today to take

         all of the remaining cash that exists in the debtors account,

         use that cash, this is the debtor’s request, to pay employee

         obligations that have accrued.          Again, not current employee

         obligations going forward.         We have no issue paying for

         employee wages that are coming due, but to pay the employee

         obligations as much as they can to fund the professional fee

         carve-out and then they have asked for Wells Fargo to provide

         some type of an assurance that out of any proceeds that Wells




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         Fargo is to receive they will fund the remaining employee

         obligations no matter what that recovery is going to be to

         Wells Fargo, but they will fund the remaining obligations to

         employees.

                       Now, Your Honor, we’re talking about employees and

         I’m mindful of that, obviously.          Nobody in entering this case

         and even as we sit here today had any intention of incurring

         obligations to employees that were not going to be met.                The

         budgets originally for, you know, the Chapter 11 case took

         into account the anticipated employee obligations and, you

         know, everybody had always hoped and expected that employee

         obligations could be paid in full through the process and

         certainly through the GOB sales.

                       The debtors currently don’t anticipate being able

         to make it to a GOB sale and I don’t think they believe that

         even a Chapter 7 Trustee may make it through a GOB sale

         without further financing.         Yet when it comes to obligations

         for which they perceive that there might be D&O liability we

         are getting demands for those.          On anything else they’re

         willing to talk to us, but as to our recoveries, as to other

         stakeholder recoveries, as to what’s in the best interest of

         all other stakeholders unfortunately, Your Honor, we haven’t

         been as cooperative.

                       So, on the one hand we very much like to say to

         the debtors let’s do this cooperatively.            That is our




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          preference that is what we asked the debtors to do.              We’d

          like to have a smooth transition to a Chapter 7 process in

          which we can account for, you know, make sure the inventory

          is safeguarded, make sure the information is available for

          the Chapter 7 Trustee so that the Chapter 7 Trustee can get

          up to speed as quickly as possible, make sure key employees

          are available and their information is available so that the

          Chapter 7 Trustee can reach out to them.            Hopefully, if he or

          she determines that this is the way that we would go so that

          all of the inventory and the assets can be safeguarded, can

          be put together.

                       Unfortunately, that is not what is happening and

          as I started the presentation what I said was that in these

          times, especially when we’re dealing with such unprecedented

          disruption, the key is to have a willing partner.              And so,

          Your Honor, we need those assurances from the debtors that

          they will get their creditors the information they need and

          the information that will be critical to have a soft landing,

          but as a condition to that is that we have to gaurantee that

          all potential liabilities for the directors and officers are

          taken care of full stop we are not in a position to do that

          today.    We simply can’t.      The debtors do not have sufficient

          cash today to pay for those things.           This is not a DIP, they

          don’t have availability or no additional cash other then what

          they have on hand.




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                        So, we’re a little bit in a -- and I don’t really

          know because I’d prefer option A, Your Honor.             I’d prefer

          that we did this consensually and that we were before the

          court late in the week with respect to a voluntary

          conversion, but I don’t know because of demands that we

          received very, very late last night.           As Mr. Werkheiser said,

          everybody has been working round the clock to try to make

          this work and to try to come up with a scenario that works.

          Then, you know, late in the evening we’re getting demands

          that say you must pay what we believe are $16 and a half

          million dollars of obligations and we’d like to take that

          money today.

                        If the debtors were permitted to do what they’re

          asking to do, of course, there’s no options for any creditors

          in a Chapter 7 because you will turn over the case to a

          Chapter 7 Trustee with no money and no funding.             So, where we

          sit today our view is if this is likely to convert to a

          Chapter 7 Trustee then we should turn over the funds that

          remain in the estate to the Chapter 7 Trustee as well.               I

          just would be remiss if I didn’t mention that the debtors

          are, as Your Honor can imagine, out of borrowing base

          compliance.     So, the lenders have the right, under the

          interim cash collateral order, to sweep cash, to put them

          into compliance which would be in excess of $5 million

          dollars.    We have not taken that action for exactly this




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          reason because our view and the view that we have shared with

          the debtors is we appreciate that the estate today has more

          obligations that they didn’t have cash to pay.             They’re going

          to be tough decisions that need to be made going forward

          undoubtedly.

                        There might be a scenario in which we have to fund

          to an exit.     We just don’t know, but if its likely to convert

          to a Chapter 7 anyway then it makes sense for the Chapter 7

          Trustee to have all of the available options and the cash to

          make those tough decisions rather than a situation which is,

          I believe, what the debtors are suggesting or requesting

          today which is that they would take all of the cash, leave

          the estate with zero money and soft convert it.             I don’t know

          what’s soft about that, but convert it into a Chapter 7 case

          and leave all of the creditors and the Chapter 7 Trustee with

          absolutely no options but, you know, a zero for everybody.

                        We can’t imagine that that’s maximizing value.

          Certainly not by our view and so, therefore, Your Honor, we

          are where we are and, as I said, if the debtors want to work

          cooperatively, we are here.         We want to do that, but we’ve

          got to be working towards that conversion and, you know, we

          will fund payroll expenses for employees that remain at the

          company today and certain those that we need going forward.

          But we cannot give the debtors assurances that we are going

          to fund something to deal with D&O liabilities today.               It’s




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          just not appropriate and we’re not in a position to do so.

                       THE COURT:     Thank you.

                       MS. FELDSHER:      Your Honor, unless you have any

          questions thank you.

                       THE COURT:     Anyone else before I turn it back over

          to Mr. Werkheiser?

                       MR. SANDLER:      Your Honor, very briefly.        Brad

          Sandler, Pachulski Stang, for the committee.             May I be heard?

                       THE COURT:     Yes.

                       MR. SANDLER:      Your Honor, as I think I said when

          we had our first hearing that the committee was involved in

          the overarching goal of this committee was to see one or more

          going concerns because, obviously, that would be good for the

          employees, for the landlords and the vendors.

                       You know, you’ve heard two very different

          presentations over the last, I guess, about 30 minutes or so

          that I think you can sense what is going on within the case.

          The committee is, kind of, caught in the middle.              The one

          thing from the committee’s perspective I don’t think there is

          really much of an operational difference right now with this

          Chapter 11 in particular and what will likely occur in a

          Chapter 7 given the state of the emergency.

                       And considering that the trustees in Delaware are,

          for the most part, comfortable operating a business one of

          the things that I do want Your Honor to know is that we have




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          been talking to our committee members, some of our committee

          members, which consist of major vendors as well as major

          landlords of the debtor.        And we have also had conversations

          with Robert Levin’s counsel and separately with Gary Van

          Elslander’s counsel.       And the committees goal still remains

          to try to find a going concern transaction, one or more going

          concern transactions that will hopefully save some portion of

          the Wolf/Levin stores and the Art Van stores.

                        This, you know, ultimately may be done in a

          Chapter 7 and it may be that some of us are not around in the

          Chapter 7, although some of us may be around, and we intend

          to continue to find a way to develop a value maximizing

          transaction, one or more of them here because it really will

          be critical to try to get a going concern to the extent

          possible.

                        You know, in terms of where the case ultimately

          goes its unfortunate.       A conversion is never a great thing

          for a case.     We understand the disagreements between Wells

          and the company.      We will, obviously, take a look at whatever

          conversion motion is filed and we will weigh-in on that.                At

          this time, though, we certainly understand the substantial

          challenges confronting this debtor right now.

                        So, with that, Your Honor, I think I will just see

          if you have any questions from the committee’s perspective.

                        THE COURT:    No.   Thank you.




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                        MS. RICHENDERFER:      Your Honor, if I may.       This I

          Linda Richenderfer from the U.S. Trustees Office.

                        The one thing that strikes me is that we have a

          cash collateral -- use of cash collateral that expires at

          some point this evening.        And it doesn’t sound like a motion

          to convert would be filed sooner than a day or two and then

          that still needs time for Your Honor to hear it.

                        I have a great concern about who is going to be

          protecting the collateral in the meantime because it

          certainly will not be under the control of the Chapter 7

          Trustee.    And I don’t know if the debtor has spoken to the

          lender yet about any arrangements being made, but until that

          order is signed and until the trustee is appointed a Chapter

          7 Trustee is not responsible for what happens with the

          collateral.     That is just a point I wanted to emphasize at

          this point.

                        THE COURT:    Thank you.

                        MR. GANZ:    Your Honor, Craig Ganz.        May I be

          heard?

                        THE COURT:    Yes.

                        MR. GANZ:    Craig Ganz, Ballard Spahr.         Again, Your

          Honor, as you know, we represent a group of landlords

          including Brixmor Store, Essential and Broadstone.

                        One of the issues that the Trustee brought up, its

          one of the issues that we have as well, you know, once we




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          turn the page in April here we’re not onto April rents and

          essentially being a rent free storage facility for the

          collateral.     It brings a lot of concerns.         We have had

          multiple discussions with potential purchasers both on that

          collateral that’s inside our stores and also purchasers on

          the leases as well.       We have tried to direct them many times

          over to debtor’s counsel.        We have not seen any of those

          conversations bear any fruit.

                        The position that we are taking right now is we

          just want to find a way here where we can remove ourselves

          from this process and if it has to be go direct with these

          potential purchasers of the leases or acquirers a we do have

          potential new tenants lined up to take over here, but there

          is no mechanism here to extract us.           And, you know, there

          could be a situation where we’re hopeful when we get into a

          Chapter 7 that we’ll have a trustee that is responsive to

          removing the collateral from these locations or liquidating

          the collateral to a potential acquirer of these leases so we

          can have a new tenant, but as these days start to drag on

          there’s some significant implications here especially, like I

          said, we’re viewed somehow as a rent free storage facility

          where, you know, those amounts are going to need to be paid

          at some point and what the mechanism to do it is and whether

          that is through the Chapter 11 process or through the Chapter

          7 process.     We would like to see, you know, a mechanism to




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          move this along while at the same time, obviously, being

          sympathetic to the situation that we’re all facing.

                       Thank you.

                       MR. WOLF:     Your Honor, Jeff Wolf from Greenberg

          Traurig on behalf of HGB AVF.         If I could be heard.

                       THE COURT:     Yes.

                       MR. WOLF:     Thank you.

                       We are the term lender and at this point now the

          successor agent under the term loan facility.             I just wanted

          to make sure that you and the other parties understood that,

          first, we have not been involved in the back and forth on the

          day to day of the discussions between the debtor and Wells

          Fargo.    We have not been consulted on the continued use of

          cash collateral.      We have not been a party to the development

          of the mothball budgets.

                       That having been said I just wanted to let you and

          the other parties understand that it would have been our

          hope, like Wells Fargo, that the ABL agent and the debtors

          would have worked out a mothball budget and continued with

          consensual use of cash collateral and continued in Chapter

          11.   And hopefully to find a way to get the stores back open

          when the time is allowed and dispose of the collateral in an

          orderly basis in the hope of getting recoveries for the term

          loan term lenders.

                       Given what we understand to be the current




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          circumstances and demands of the debtor in terms of what

          needs to get paid, and lack of cash and other resources we’re

          supportive of the ABL agent’s position at this point to

          terminate cash collateral.         We would echo their sentiment as

          well as the U.S. Trustees and landlord’s counsel about trying

          to give this thing a soft landing in Chapter 7 with

          safeguarding the collateral and paying attention to all the

          niceties of trying to put the Chapter 7 Trustee in as good a

          position as possible to maximize value for the benefit of all

          stakeholders.

                       Thank you.

                       MS. ROUPINIAN:        Your Honor, this is Rene Roupinian

          of Raisner Roupinian.       May I be heard?

                       THE COURT:     Yes.

                       MS. ROUPINIAN:      Thank you, Your Honor.

                       As everyone knows, this healthcare crisis

          continues and we wanted to highlight to the court and to the

          parties that irreparable harm to these employees continues

          due to the lack of their health insurance.            And while the

          estate exists, we implore the parties to make every effort to

          relieve as much of this healthcare crisis as possible by

          whatever means is available.         Even if it causes some

          discomfort in the financial analysis here.

                       We’re talking about human lives that are at stake.

          And there would be goodwill towards the parties if some




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          accommodation could be made with respect to these employee

          obligations.     And we think that goodwill is worth quite a

          bit.   And unlike money, can’t be regained.           So, we felt it

          important to make a plea here for the employees who, you

          know, have been terminated and have lost their health

          insurance, and have serious medical issues as my colleague,

          Jeff Raisner, pointed out at the last call.            Those issues

          continue.

                       Our concern is that these medical bills aren’t

          going to be paid.      There is not going to be money there for

          them and, obviously, the concern is that they have no

          healthcare going forward and it sounds like that maybe their

          payroll is not going to be paid as well.            So, that puts them

          in an even worse position in terms of trying to pay any kind

          of medical coverage.

                       Thank you, Your Honor.

                       THE COURT:     Anyone else before I turn it over to

          Mr. Werkheiser for a brief rebuttal?

                       MR. MIRARCHI:      Your Honor?

                       THE COURT:     I’m sorry.     Yes, sir.

                       MR. MIRARCHI:      Your Honor, this is Sam Mirarchi

          from the Commonwealth Pennsylvania Office of the Attorney

          General.

                       We remain interested in this case.           We believe the

          consumers -- there are many consumers who have been harmed by




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          making deposits who didn’t get their furniture.             We’re going

          to stay committed to having any discussions that we believe

          would be helpful to anybody or any of the parties.              Those

          discussions we would like to be a part of that, but we will

          be watching and monitoring the proceedings so that consumers

          are treated fairly in this case.

                       Thank you.

                       THE COURT:     You’re welcome.

                       All right, Mr. Werkheiser?

                       MR. WERKHEISER:      Your Honor, thank you for the

          opportunity to address some of these statements.

                       Your Honor, first, I just want to direct the court

          and everyone else to Paragraph 2 of the interim cash

          collateral order which I think is the operative language

          given where the case is at right now.           And that language

          states:

                       “During the remedies notice period the debtors may

          use cash collateral solely to meet payroll obligations and

          pay expenses necessary or reasonably advisable to avoid

          immediate and irreparable harm to the debtors’ estates in

          accordance with the budget, and as otherwise agreed to by the

          prepetition ABL agent in its sole discretion.”

                       So, Your Honor, the fairest reading of that is

          that --

                       THE COURT:     Wait, wait, where is that?         I don’t




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          see that?    That’s not Paragraph 2.

                       MR. WERKHEISER:      Of the interim cash collateral

          order, Your Honor?

                       THE COURT:     Yeah, I’m looking at it.

                       MR. WERKHEISER:      Where --

                       THE COURT:     Oh, I see it.      All right.     Hang on,

          let me read it.

                       MR. WERKHEISER:      Okay.

                       THE COURT:     Not that I don’t like being read to,

          but I don’t.     So, what are you -- nothing -- I didn’t hear

          anything other than the payroll obligations that were

          necessary to avoid irreparable harm.

                       MR. WERKHEISER:      I think we are -- that is

          primarily our focus at this point, Your Honor.              There are

          approximately 4.8 million of payroll obligations, wages,

          salary, and commissions for sales personnel who worked on a

          post-petition basis to monetize Wells Fargo’s collateral on

          the collateral of the other secured lenders in these cases

          that remain unpaid at this time.

                       The sales commissions, in particular, have a long

          tail, Your Honor, because they do not become earned until the

          furniture is actually delivered to the customer.              And so that

          accounts for a large portion of those employee obligations

          that at this point remain unfunded.

                       The second component of employee obligations that




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          was identified were the healthcare obligations, Your Honor,

          that are part of the employee benefits and would normally be

          part of payroll.

                       THE COURT:     Its not payroll.      Do they have a right

          to -- if you cancel the healthcare, do they have a right to a

          money payment from you?

                       MR. WERKHEISER:      The healthcare benefits?

                       THE COURT:     Are you required under state law to

          continue to give them healthcare if you decide to voluntarily

          get rid of it?

                       MR. WERKHEISER:      Your Honor, just to clarify what

          we’re talking about here are claims that were submitted by

          employees under the debtors’ healthcare plan prior to the

          termination of their employment.          So, these are services

          where an employee went to a physician or received medical

          care prior to, in most cases, March 19th and had billed and

          had been proceed through the insurance claims process or

          system since then and its now going to get sent back to the

          debtors to pay several weeks later.

                       So, the numbers that are believed to be the

          obligations are those that are going to hit the debtors over

          the next several weeks based on those claims that were made

          by employees, we think, predominately during the post-

          petition period and were part of their, you know, employee

          compensation and benefits package with their wages.




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                        THE COURT:    Let me back up a minute.        What

          furniture have you delivered since you shut down?              None,

          right?

                        MR. WERKHEISER:     I can’t speak without, you know,

          having the ability to talk to the client and get detail about

          what that was, but I believe there’s been some furniture

          delivered since the petition date since March 8th through the

          19th or so. I can’t tell definitely whether there’s anything

          that’s been delivered after the 19th.

                        THE COURT:    So, how often do you pay payroll?

          When was the last payroll?

                        MR. WERKHEISER:     I think, Your Honor -- I know

          this is a little unorthodox, but I believe Mr. Stogsdill is

          on the line and I don’t know if he has that information handy

          for us.

                        MR. STOGSDILL:     I am Greg.     Payroll is made every

          Friday at Art Van and those commissions cover the period of

          March 1st through deliveries that were made up to late as

          March 21st, I believe.

                        THE COURT:    So, you haven’t paid for any March

          deliveries?

                        MR. STOGSDILL:     Not for commissions.       Commissions

          are made on a monthly basis.

                        THE COURT:    So when are they due generally?

                        MR. STOGSDILL:     This week.




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                       THE COURT:     They’re due this week, so the 3rd?

                       MR. STOGSDILL:      Well technically, Your Honor, they

          would be paid if we were going concern, they would be paid in

          April after the month concluded.          Because we terminated

          everybody and shut down the operations, we moved them up to

          be paid one to two weeks after the closing.

                       THE COURT:     Well the closing was the 19th, okay.

          So, you have March commission earned due to March deliveries

          that have not been paid.        How much is it?

                       MR. STOGSDILL:      It’s a little over $2.2 million

          dollars, I believe.

                       THE COURT:     And I’m hearing from Mr. Werkheiser

          that there’s payroll that would normally be due, I guess,

          this Friday for people who are currently working that haven’t

          been paid, is that correct?

                       MR. STOGSDILL:      There’s two components of the

          amounts being paid this week.         It’s for employees who were

          laid off as part of the shutdown on the 19th and there’s also

          a small group of employees that have continued to support the

          estates, and they’re in there as well.           But the bigger piece

          of it is for the preclosing payroll, just by virtue of

          having, you know, several thousand people on that.

                       THE COURT:     Okay. So, it’s people who are being

          paid for work they did before you closed that haven’t been

          paid yet.    How much is that?




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                       MR. STOGSDILL:      I don’t have that number directly

          in front of me but it’s around $4 million dollars, high

          three’s probably.

                       THE COURT:     So, they normally would have been paid

          on like the 20th or the 27th, but they weren’t?

                       MR. STOGSDILL:      That’s right.

                       THE COURT:     Okay.    And for people who have been

          supporting the company post-closing which was the 19th, how

          much is that payroll?

                       MR. STOGSDILL:      It’s roughly about $250,000

          dollars every two weeks.

                       THE COURT:     Okay.    And Mr. Werkheiser was giving

          me some numbers about healthcare reimbursements. And it

          sounded like there was a distinction between what you had

          already received request for payment for and what you

          expected in the future, is that right?

                       MR. STOGSDILL:      Yes, what’s in the forecast which

          has been in every forecast we’ve ever put out is a tail; I

          think of it as like an actuarial tail for claims made

          incurred in the prior period that because of paperwork and

          bureaucracy take several months to be processed and presented

          to the company for payment.         So, the $8 million dollars or so

          that’s in the forecast, that’s always been in the forecast is

          for claims that have been made over the last -- as far back

          as six months ago.




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                       THE COURT:     And you have a wage order, Mr.

          Werkheiser, that allows you to pay those even though they’re

          prepetition claims?

                       MR. WERKHEISER:       We did. We did get authorization

          from the court that are continued processing and honoring

          healthcare reimbursement claims for the employees.

                       THE COURT:

                       MS. FELDSHER:      Your Honor, this is Ms. Feldsher.

                       THE COURT:     Yep.

                       MS. FELDSHER:      Can I be heard here?

                       THE COURT:     Of course.     I’m just trying to

          understand --

                       MS. FELDSHER:      Yeah.

                       MR. WERKHEISER:       Your Honor, I’m sorry.       I’m happy

          to have Ms. Feldsher be heard.          There were a number of

          mischaracterizations of the record --

                       THE COURT:     Mr. Werkheiser, you’ll --

                       MR. WERKHEISER:       -- in the presentation she made

          to the court.

                       THE COURT:     Mr. Werkheiser --

                       MR. WERKHEISER:       Okay.   I just didn’t want to not

          address those points.

                       THE COURT:     You will get your opportunity -- stop

          talking over me.      You will get your opportunity to speak.

          I’m trying to figure out the facts and, frankly, I’m not




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          getting them very well from you where I have to ask your

          client and others to tell me what’s actually going on.

                       So, Ms. Feldsher.

                       MS. FELDSHER:      Thank you, Your Honor.

                       Your Honor, with respect to these healthcare

          obligations my understanding and, again, at the risk of the

          lawyer talking numbers, is that what was included in the

          budget that was filed -- actually, Your Honor, if I may just

          take a brief step back.

                       So, we view the language in two, to be as Your

          Honor I think, you know, understands and has seen this

          provision in virtually all DIP and cash collateral orders,

          this is the debtors can keep the lights on, you know, the

          stuff that’s absolutely necessary they can pay it until they

          can get back to court and seek some relief from the court.

                       And, you know, as you’ve heard these obligations

          were obligations that the debtors incurred by virtue of

          terminating of all of the employees.           Again, Your Honor, I

          just want to be very clear --

                       MR. WERKHEISER:      Debtors do --

                       MS. FELDSHER:      -- all current payroll, all current

          payroll that we are aware of that’s been submitted to Wells

          Fargo has been funded.       But on the issue of these healthcare

          obligations my understanding is that, one, this is not -- if

          you look at the budget it’s not, there’s no line item for




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          these obligations in the budget.

                       But from Clear Thinking Group, which is Wells

          Fargo’s financial advisor in this case, I am told that what

          was included in the backup to the budget that went in with

          the cash collateral order was accrued worker’s comp and

          medical of $6.2 million dollars.          There were no provisions

          for unpaid PTO or vacation because the debtors understandably

          did not anticipate terminating all of their workforce.

                       Again, we have asked all of these questions as

          well, Your Honor, many many times.          We tried to get to exact

          numbers.    Mr. (indiscernible) gives one number, the debtors

          today submitted a funding request for these obligations that

          were not the same as the numbers we received in a demand

          email from the debtors’ advisors yesterday evening.

                       So, there’s always these discrepancies and, you

          know, that’s part, I think, of the issue here.             But any

          payroll, actual, you know, payroll, right, people working

          their salaries my understanding is that those have always

          been honored and have all been paid.

                       THE COURT:     What about the commissions?

                       MS. FELDSHER:      So, the commissions, Your Honor,

          have not been paid yet and they have not been paid because as

          you heard from Mr. Werkheiser, these were delayed and they

          were accelerated, as Mr. Stogsdill said.            They have been

          accelerated unilaterally by the company to be payable now.




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          They wouldn’t ordinarily be payable.

                       Your Honor, we have asked for and continue to ask

          for details on the exact number of these obligations.               And in

          and of themselves, again, Your Honor, we can work on one

          issue and say, okay we absolutely agree that these should be

          paid, and we can get them paid.          There’s sufficient cash to

          pay them.    The problem is there isn’t sufficient cash to pay

          all of the employee obligations, so how do you draw the line?

          How do you draw the line on commission payments, but not PTO,

          but not healthcare costs, but not this, but not that?

                       There has to be -- there’s a fiduciary that’s

          supposed to be in place to make those decisions.              And if this

          is going to convert to a Chapter 7, we think the right place

          is for the Chapter 7 trustee to look at all of these, get to

          the right, you know, final number and make, you know, and

          look at those and decide if these obligations can be paid.

                       But as we currently sit here today, were the

          debtors to pay everything that they want to pay, it would

          exceed the amount of cash they have and that’s even before

          any sweep for cash that are permitted in the cash collateral

          order for Wells Fargo which I’m not suggesting we would take.

          I’m just saying even before you do any of that, you’re in

          excess of the amount that they have.

                       So where do you draw the line?          Why do employees

          that submitted claims previously get their healthcare claims




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          paid?    The ones that submit them tomorrow aren’t going to get

          them paid because the debtors aren’t going to have sufficient

          month.    There’s no way to easily peel this onion as far as we

          can tell.    We’ve tried very very hard with the debtors. We’re

          happy to try some more, but we need definitive numbers, not

          estimates.     We need actual numbers.        We need to know exactly

          what is being requested.        And what we’re doing in funding

          that in terms of what will be possible in the Chapter 7 for

          all other stakeholders.

                       THE COURT:     All right, thank you.

                       Mr. Werkheiser.

                       MR. WERKHEISER:      Yes, Your Honor.       Thank you.

                       Your Honor, and I’m sorry if my presentation has

          not been as clear as would be idea.           We’re, obviously, you

          know, this is a developing situation.           We are doing this by

          telephone.

                       If we were all in the same room, I would be able

          to hand you cash forecasts going back to the beginning of the

          case that have shown that these obligations were in the

          forecast, in the budget they contemplated.            The numbers may

          have changed somewhat over the course of the case, but they

          were always known and always part of what needed to be paid

          to pay the freight to be in Chapter 11 bankruptcy, this

          lender and the other secured lenders.

                       And, Your Honor, I would just, again, we don’t --




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          the version of the budget that is attached to the cash

          collateral has minimal detail, you know, has become common,

          unfortunately, in these cases.         But the backups to that

          really shows, even at the very beginning of the case, for

          example, that these healthcare obligations were contemplated

          and prefunded and reflected as prefunded employee obligations

          in excess of $6 million dollars, at that point in time.

                       Your Honor, I need to correct the factual record

          too on a number of things that Mr. Feldsher said.              I will,

          giving her the benefit of the doubt assume unintentional.

                       These lenders received daily reports of the

          operations of the debtors during the bankruptcy case.               They

          knew exactly what was going on with both the GOP stores and

          the operating stores on a real-time basis.            There was

          complete information flow all throughout these cases.

                       So, it is really disingenuous for her to say that

          we somehow surprised them with the board having made a

          responsible decision on March 19th to discontinue operations

          when the coronavirus was already rousing throughout the

          country at that point.       Pennsylvania, at that point, had

          issued an order to stay in place where a large portion of the

          debtors’ stores are located.

                       And, Your Honor, I think we can take judicial

          notice of the fact that Michigan, Ohio and Illinois, where

          the bulk of the other operations of the debtors and the




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          debtors’ headquarters are located in the case of Michigan,

          have all since issued stay-in-place orders no later than

          March 23rd.

                        So, maybe the board anticipated the formal

          government action, at that point, but it was clear, the

          writing was on the wall, and it was known to Wells Fargo and

          to everyone else in this case that the operations at those

          stores, at that point, were losing money on a daily basis

          because the traffic in the stores, and this makes sense.                 The

          company that sells furniture, and this is a virus that are

          reports indicating live on hard surfaces for a period of time

          after somebody touches them who’s infected.

                        The customer traffic in the stores was at very low

          levels once it became known what this country was dealing

          with in this virus.       So, the board did what it had to do both

          for economic reasons and for the health and safety and

          welfare of employees and customers in making the difficult

          decision to discontinue operations on March 13th.

                        What did that do, Your Honor, at that point?              It

          didn’t change anything other than potential retriggering

          obligations with respect to unused vacation time.              Unused

          vacation time, Your Honor, is not part of any of the funding

          request that we’re talking about today.

                        The obligations we’re talking about today are

          salaries, wages, commissions, and healthcare obligations.




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          Does not include vacation pay.         It does not include PTO of

          any other sort.      That’s a red herring and that’s

          misdirection.

                       I also do want to, again, address the point of

          whether these debtors have tried to cooperate with their

          lenders. We have been trying throughout this case and before

          to do that and especially since it became clear the original

          contemplated going concern transaction and the GOP sales were

          not going to be able to be implemented as parties that

          originally intended.

                       Again, if we were all in the same room, I could

          show you model after model after model of that.             Alvarez &

          Marsal has shared with the lenders financial advisor and I

          could show you email after email after email in which we

          previewed that these issues existed.           We’re trying to explain

          to the lenders why, what challenges the company faced in this

          situation and what obligations needed to be funded in

          connection with these cases to pay the freight.

                       So there has been fulsome communication.            There

          has been accurate communication.          Numbers changed because new

          data comes in from time to time and new claims come in from

          time to time.     But the information has always been provided

          as soon as it was available.

                       Your Honor, what this comes down to, Your Honor,

          is everybody -- it’s a miserable situation.            The employees




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          have been hurt.      The customers have been hurt.         Everyone else

          has been hurt in some fashion by the way this has developed.

          Much of it is beyond anyone’s control.           Some of it, in

          particular, within the control of our secured lenders and

          that is, you know, how do we do the least harm to the most

          people, primarily the employees?

                       And that’s why we are pressing for these

          obligations that are baked into this cash collateral order --

                       THE COURT:     Well, listen, Mr. Werkheiser, you just

          raised the point that’s the problem.           You got a fixed amount

          of money, insufficient to meet all this company’s

          obligations.     You want to do the least harm possible

          particularly to the employees.         Particularly to the employees

          is a choice.     You are choosing one creditor over another.

          Those creditors will get paid, other creditors of equal

          priority will not.

                       Now, generally speaking, a debtor-in-possession

          has the ability to run his business or its business.               When

          you start to make those kind of value judgments when you’re

          picking one administrative creditor over another that’s

          really the purview of the court.          And they’re very very

          difficult questions that have to be answered, consistent with

          due process, an opportunity to be heard, and based on facts

          and law, not just the debtors’ board prefers to pay his

          employees rather than his bank, rather than his landlords,




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          rather than his taxes, rather than any other administrative

          obligations that are going to go unpaid.

                       And while I certainly understand and sympathize

          with that desire of a company to want to take care of its

          employees -- oh by the way, and the other then also includes

          customers who are never, at this point, going to get their

          deposits back.     That’s a choice.       And, you know, frankly, I

          don’t think your client is in a position to make that choice

          because reality has outstretched a previous life.

                       MR. WERKHEISER:      Your Honor, may I respond

          briefly, just on that --

                       THE COURT:     Of course.

                       MR. WERKHEISER:      I do appreciate the difficult

          situation and perhaps the impossible situation that the court

          is in and everybody else is in.          But what I’m talking about

          is enforcing a choice that not just the debtor but the

          lenders made in the order that they agreed to and had Your

          Honor enter.     That order explicitly says that the debtors had

          the ability to use the cash collateral to meet the payroll

          obligations.

                       They committed -- and I’m not standing -- asking

          Your Honor today to order them to make additional funds

          available.     If they committed to make the money available for

          that purpose and those are obligations that are due now for

          the most part.




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                       THE COURT:     It says payroll obligations and

          irreparable harm expenses.

                       MR. WERKHEISER:      Yes, Your Honor.

                       THE COURT:     And the only payroll obligations that

          I’ve heard are salary, wages, and commissions that have been

          (indiscernible) but unpaid through today.            That’s all I’ve

          heard.

                       The healthcare reimbursements are not payroll

          obligations.     They’re just not.       Under no reasonable

          definition of what payroll obligations are would they include

          healthcare reimbursements under a terminated healthcare

          policy, many of which are prepetition.           And it’s terrible and

          it’s ridiculous that in this country you have to have a job

          to have health insurance, but that is the law.

                       MR. WERKHEISER:      Understood, Your Honor.        I

          understand where the court is coming from.

                       Your Honor, again, despite us airing our

          respective dirty laundry in front of the court today which is

          not what we had set out to do this afternoon, you know, I

          think the one thing that from the debtors’ perspective, you

          know, we would agree with our lenders on is that everyone is

          better off if we can somehow come to an understanding as to

          dealing with these obligations that is fair and honors the

          bargain reflected in the cash collateral order, and you know,

          the basis principles under which I think this court has




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          operated for some time which is, you know.

                       I know Judge Walsh always used to say I can’t --

          if a secure lender wants to be dumb and take, you know, make

          a rational decision that’s collateral at the end of the day,

          I can’t stop them, but so they’re going to have to pay the

          freight.

                       THE COURT:     Well, I think we can all agree a force

          majeure has occurred between the decision making at the

          beginning of this case and where we are today, for everyone.

                       MR. WERKHEISER:      Well, of course.       All I’m saying

          is I think, you know, we are acknowledging as Judge Walsh did

          that, you know, the secured lender has rights and has a

          significant amount of control over its collateral.              And that

          was my only point in raising that, Your Honor.

                       But, at the same time, there’s a duty to pay the

          freight.    And in this case, you know, the freight is -- the

          largest chunk of that freight that needs to be addressed, you

          know, sooner rather than later is the employee obligations.

          And customer obligations which, you know, again, that the

          (indiscernible) there’s not a real opportunity to pay, at

          least as to the prepetition.

                       You know, I cannot speak to and I do not know, at

          this time, what ability there is for customers who bought

          goods and paid in full for them on a post-petition basis

          where the company was only selling inventory that was




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          actually in its possession at that time, not taking special

          orders, that may actually sit someplace in a warehouse, at

          this point, and could be delivered if the resources were

          there to do it, and there was not government action

          preventing that from happening.          But, again, you know, it’s

          paying the freight, doing what’s right and fair and, you

          know, not to the extent possible hurting individuals who have

          no control over what transpired here.

                       Thank you, Your Honor.

                       THE COURT:     You’re welcome.

                       All right --

                       MS. FELDSHER:      Your Honor, this is Jennifer

          Feldsher.    I won’t take up the time other than I didn’t want

          my silence to be perceived as acquiescence to Mr.

          Werkheiser’s statement that I somehow misrepresented to the

          court.

                       What I said to the court is to the best of my

          knowledge and I hope that Your Honor knows that we tried to

          be very careful about the things we say to the court and that

          we’re not misrepresenting it.

                       THE COURT:     All right.     It’s a very difficult

          situation for everybody, to say the very least and,

          hopefully, one that will never be put into again but I think

          it’s our reality probably for the next several months.

                       All right, so here’s where we are.           What I would




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          like to do is have a hearing Friday at one o’clock.              I’d like

          that by video in case we need testimony.            And Ms. Gatsun will

          work with you on that.

                       In the interim, the debtor may not spend any

          money; however, I believe that under the cash collateral

          order, they have authority to pay salaries, wages, and

          commissions that were earned but were unpaid through today,

          the 31st.    But before I authorize that pay, I’m going to need

          details of exact numbers and backup that can be shared both

          with me and with Wells Fargo, and any other creditor.

                       Obviously, I don’t need names of employees.             I

          don’t want any personal identifiable information.              Maybe

          names are okay, but obviously but no social security numbers,

          no addresses, no phone numbers, just pure names is fine, if

          we have to get to that level of detail.           But I really want

          detail.    I want to know what these numbers are.

                       Not healthcare, not severance, not PPO, not

          expense reimbursement, no other fringe benefits.              Just good

          old fashion wages, commissions and salary.            I think that’s

          fair under the cash collateral order that the debtors would

          have normally the ability to simply pay that, even without

          the agreement of the agent.         But in current circumstances

          and, in particular, some disagreement as to what truly is

          owed or not, I’m going to insert myself into that process and

          make a decision on Friday of exactly what’s going to get




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          paid.

                       I’d like to make a request of the debtors that

          they make a decision very quickly as to whether to convert

          the case or not.      I’m not going to allow anything other than

          what I just discussed to be paid before conversion, allowing

          the bank accounts to be emptied to zero and then converting

          the case is a recipe for disaster and unfair to the

          creditors, none of whom are going to get paid in full.               And

          the Chapter 7 trustee has to have something to deal with,

          some way to operate the estate.

                       So, I’m requesting that the debtors quickly decide

          whether they’re going to convert and do so -- if they decide

          to do so, to do so quickly and to file a motion to shorten

          and the court will hear it on shortened notice.

                       I’d also like to request Wells Fargo to indulge me

          by agreeing to continue the stay relief date that ends today

          through Monday, April 6th to give us an opportunity to figure

          out what to do, hopefully, with some comfort that no money is

          going out the door unless otherwise ordered by the court.

          And the only money the court is considering are the wages,

          salaries and commissions, and only after hearing detailed

          evidence of same on Friday with an opportunity for the agent

          to be heard.

                       This is an unfortunate situation.           It is nobody’s

          fault.    It is nobody’s fault.       I know many people in my local




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          business community who are good business people who have

          great businesses who are staring down the barrel of a gun

          based on what’s happened.        It’s just -- it’s extraordinary.

          And I’m not casting aspersions on anyone, but obviously this

          case changed dramatically as did the whole world -- well not

          the whole world but as to the United States in the last three

          weeks, three or four weeks.

                       So, Mr. Werkheiser, is that okay?           Well it may not

          be okay, but do you understand?

                       MR. WERKHEISER:      Of course, Your Honor, we do

          understand and let me be clear.          The reason, in part, we’re

          having this debate today is the debtors, of course, never

          entertained the idea of trying to pay these things without,

          you know, some court authorization -- some specific vetting

          of these issues in front of the court given, you know, the

          lack of consent of Wells Fargo to agreeing to pay these, even

          if we thought they were required by the order.

                       So we, of course, will abide by Your Honor’s

          direction on these points.

                       THE COURT:     Thank you.

                       MS. FELDSHER:      Your Honor, Jennifer Feldsher.          I

          apologize for interrupting, just for one clarification.

                       THE COURT:     Yes, ma’am.

                       MS. FELDSHER:      We have been advised -- I

          apologize, Your Honor.       We understand Your Honor’s ruling and




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          will abide by it as well.

                       Your Honor, we were advised late last night, you

          know, as usual it’s always an emergency.            But the debtors

          have their property insurance is coming due and they need to

          enter into a renewal on -- Mr. Werkheiser may have more

          information but we have been told that they need to enter

          into a renewal by tomorrow or they will have no insurance

          related to their properties.         And, obviously, there’s a

          significant amount of inventory here.

                       So we have no objections to the debtors entering

          into the renewal policy and we would be okay with the use of

          cash collateral for that because we think that in any

          instance, whether this is a Chapter 11 or a Chapter 7, we

          will need to have, you know, a proper insurance covering the

          inventory here.

                       While the debtors haven’t been able to secure the

          same insurance that was required under the prepetition credit

          agreements, they have told us what’s the best insurances they

          can get and we think that’s better than not having any

          insurance.

                       THE COURT:     Well if you consent, it’s okay with

          me.   And I can guarantee you the first question the Chapter

          7, if there is one, will ask is whether there’s insurance.

          So, obviously, that’s a good idea.

                       MS. FELDSHER:      We agree, Your Honor, we just




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          didn’t want to be, you know, violating a court order so we

          wanted to make sure you were mindful of that and we will

          consent to that being paid.

                       MR. WERKHEISER:        Thank you, Ms. Feldsher, and

          thank you, Your Honor.

                       Yes, I think we had communicated with Wells Fargo

          just to let them know the terms of the policy, for example,

          is available for renewal which was less attractive than the

          one that was in effect through today.           And we’re trying to

          ensure that that would be acceptable to them under the

          circumstances.

                       As I understand it, we have to sign the paperwork

          by tomorrow, but nobody need go out the door immediately that

          there is probably for two weeks of a grace period to make

          those payments.      So, I think between now and Friday this

          won’t change the amount of cash on hand.

                       THE COURT:     Okay.     Thank you.    Makes a lot of

          sense.    So, Ms. Feldsher, putting you on -- can you give me

          that waiver until Monday or do you need to talk to your

          client?

                       MS. FELDSHER:      Your Honor, I think that I’m

          authorized -- my client is on, but might be on a mute line,

          but we will, of course, give Your Honor, the time necessary,

          particularly if, you know, as we know that the cash position

          is going to remain the same.         So, Your Honor, at the risk of




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          getting ahead of my client and somebody else being on the

          phone on Friday, I’m going to go ahead and agree to Your

          Honor’s request.

                       THE COURT:     Okay.    Thank you.

                       I am very cognizant for the landlords on the

          phone.    I am very cognizant of the fact that you are now as

          of tomorrow involuntary storage facilities for many of you

          for the debtors’ inventory and property.            And I take that

          very seriously and I know that you will not get paid your

          rent tomorrow and I know it’s not the only commercial lessee

          who is not going to pay rent tomorrow in the United States of

          America, and that puts you all in a very difficult situation.

          You all have your own lenders and you all have your own

          stockholders, your own vendors.

                       So, I take that very seriously.          I will take that

          very seriously and we will address that as quickly as

          possible; however, until we have some decision about a path

          forward, which -- I mean my preference is a Chapter 7, but

          I’m not the fiduciary, thank goodness.           And that will be up

          to either the debtor-in-possession to make that election or a

          creditor to move to convert.         I cannot and nor would I

          convert sua sponte.

                       I kind of lost my cool a little bit but, you know,

          the healthcare situation is horrible.           Among the most

          difficult decisions I’ve had to make since I took the bench




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          involved terminating people’s healthcare insurance.              I had to

          do that in Fistion (phonetic) for 50,000 retirees.              It was as

          very difficult decision for me to make, and I don’t take that

          lightly either.

                       However, at least, at this point, I think, the law

          compels me and good sense compels me, first of all, I can’t

          create money out of thin air or force Wells Fargo to fund

          money that they aren’t legally required to fund.              There isn’t

          enough money to pay everybody including healthcare in full.

          Paying some now and others nothing is making a choice that

          may not be fair.

                       And there is hope, I hope, a chance that some of

          that money might get paid through the results of a

          liquidation of the inventory in a Chapter 7 that would be, I

          think, probably fairly, some of it at least, administrative

          expenses, but that’s going to have to await time.              That is a

          hardship for real people that I take very seriously, but it

          is unfortunately, in my mind, unavoidable under the facts and

          law in this situation.

                       I’m worried too about the deposits.           As many of

          you will remember from early in this case, at our first day

          hearing, I was very concerned about the deposits.              That

          situation has gotten not better.          It’s gotten much much

          worse.    That’s money people, at least, partially have a

          priority for and, again, hopefully, Chapter 11 priority wage




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          and claims and Chapter 11 priority deposit claims, at least,

          will get some recovery.        We’ll have to wait and see how that

          plays out but that’s a very difficult situation.

                       And I am cognizant of the Commonwealth of

          Pennsylvania and other Attorney’s General being concerned

          about consumers.      The reality is nobody is getting out of

          this happy and we’re just going to have to do the best we can

          to weigh the different interests, preserve due process, and

          make measured decisions that do the least harm possible, and

          that’s hopefully what we’re going to accomplish.

                       So, I’ll see you all, unless there’s anything

          else.   Mr. Werkheiser, I’ll see you all on Friday the 3rd at

          one.    I would like that by video just in case we have to put

          somebody on the stand or answer questions.            We really

          shouldn’t do it over the phone like I did today without

          swearing the witness.

                       It’s probably unclear now whether I’m going to use

          Skype for Business or Zoom, but I’ll get you that

          information, Mr. Werkheiser, and you can include it in

          whatever notice that goes out at an appropriate time for that

          hearing.

                       All the audio is by CourtCall, as always, when we

          go by video.     Only the video is for the pictures and the

          audio is CourtCall so we can make sure we have a full

          transcript available as required by law.




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                        And if you have detail you can provide me prior to

          the hearing, as long as you copy the other side with it or

          the other parties with it, I’d be happy for you to submit

          this to me by email.       You can work through Ms. Werkheiser or

          Ms. Samanski; otherwise, I can certainly -- I will need it no

          later than the hearing.        I will need something in my hand

          that gives me the detail and you can provide that by email.

                        Any questions?

                        MR. WERKHEISER:      Your Honor, Mr. Werkheiser.         Just

          a couple requests for clarification here.

                        So, I understood Wells Fargo to indicate that the

          stay is not being lifted.         I just want to confirm for the

          record that means that the remedy notice period continues

          through Monday.      And that’s only -- well material, not only

          material but material from the perspective of while we are

          not authorized to make any expenditures right now -- if the

          debtors have no access to cash collateral, we would have no

          choice but to dismiss the remaining employees effective the

          end of the day today.        We cannot incur the types of

          obligations without the ability to pay them, among others.

                        So if we could just clarify for the record that

          the remedies notice period is continuing through Monday, I

          think that will assist in (indiscernible) assets until then.

                        THE COURT:     The remedies notice period through

          Monday but that is not result in the fact that you can or




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          you’re going to be able to pay wages from April 1 through

          April 6th without further order of the court.              The answer to

          that is no.     I’m not going to let you do that.           What we’re

          going to talk about Friday is through March 31st.

                        MR. WERKHEISER:      I guess, Your Honor, what we’re

          struggling with then is we would then have to effectively

          dismiss the remaining employees today.

                        THE COURT:     No, you don’t.      No, you don’t.      They

          have a --

                        MR. WERKHEISER:      Can’t have people to work when I

          can’t pay them.

                        THE COURT:     They have an admin claim.        You’re

          working, you’re not getting paid.           They have an admin claim.

          I may allow it.      I may not.     I don’t know.      You don’t have

          the numbers for me.

                        MR. WERKHEISER:      Okay.    Okay.

                        THE COURT:     You can’t not give me the information

          to make a decision and then complain that I can’t make a

          decision, Mr. Werkheiser.

                        MR. WERKHEISER:      Your Honor, that’s not what I’m

          doing, please, please.        What I am trying to make sure is that

          the legal status of the debtor is not, as of today, that cash

          collateral is fully cut off, as opposed to making

          expenditures.      Because if the legal status as of the end of

          the day today is that there is no more access to cash




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          collateral at all, then the debtors do have zero ability to

          pay the delegations that might be incurred through the end of

          the week.

                        THE COURT:     I am struggling to understand in what

          world you think that occurred.          I didn’t terminate the cash

          collateral order.       I terminated your ability -- I froze your

          ability to make payments under that cash collateral order

          until further order of the court.           And I asked and got an

          accommodation from your lender to extend the remedies notice

          period for Monday.       That’s all that happened.

                        MR. WERKHEISER:      Right.    And nobody actually used

          the word remedies notice period, Your Honor.             And so, I just

          wanted to make sure there was no ambiguity about that being

          extended through Monday.        That’s all I was trying to do.           I’m

          sorry if I did it in an inarticulate way.

                        THE COURT:     All right, whatever.

                        MR. WERKHEISER:      And, Your Honor, just on the

          issue of conversion as a whole.          I mean I just want to be

          clear the debtors are not resisting that.             I mean

          realistically we understand this cannot continue in Chapter

          11 without the consent of the secured lenders because we do

          not have the ability to provide adequate protection, given

          the circumstances of this case.          It’s really how to

          accomplish that, that we struggle with and continue to

          struggle with.




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                        We will do everything we can between now and

          Friday to try to move past those issues with our lenders and

          resolve or, at least, narrow the issues that we have on

          Friday.    Thank you.

                        THE COURT:     Thank you.      Does anyone else wish to

          be heard?

                        MR. MIRACHI:     Your Honor, this is Commonwealth.

                        THE COURT:     Yes.

                        MR. MIRACHI:     Commonwealth of Pennsylvania; just

          real quickly.

                        The amount of the commissions may be indicative of

          the number of deposits or the amount of deposits that were

          made.    Is there any way we can get a copy of whatever

          information is going to be provided as well?

                        THE COURT:     Yes.    You’ll have to get your

          information to Mr. Werkheiser.

                        MR. MIRACHI:     We’ve been in touch with Mr.

          Werkheiser.     We can do that.       Thank you, Your Honor.

                        MR. WERKHEISER:        Yes, yes.   Your Honor, this

          hadn’t been requested previously, but I’m certain we can

          accommodate the Commonwealth and provide information about

          the amount of customer deposits received post-petition and

          prepetition to the Pennsylvania customers.

                        THE COURT:     Okay.

                        MR. MIRACHI:     Great.    Thanks.




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                        THE COURT:     Anyone else?     Yeah, you’re welcome.

                        Anybody else?

                 (No verbal response)

                        THE COURT:     All right, thank you. We’re adjourned.

                 (A Chorus of “Thank you, Your Honor”)

                        (Teleconference ended at 12:51 p.m.)




                                          CERTIFICATE



                 I certify that the foregoing is a correct transcript

          from the electronic sound recording of the proceedings in the

          above-entitled matter.

          /s/Mary Zajaczkowski                        April 1, 2020
          Mary Zajaczkowski, CET**D-531




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                        )
      In re:                                                            ) Chapter 11
                                                                        )
      ART VAN FURNITURE, LLC, et al., 1                                 ) Case No. 20-10553 (CSS)
                                                                        )
                                          Debtors.                      ) (Jointly Administered)
                                                                        )
                                                                        ) Re: D.I. 252
                                                                        )


        ORDER (I) CONVERTING THEIR CHAPTER 11 CASES TO CASES UNDER
      CHAPTER 7, (II) ESTABLISHING A DEADLINE FOR FILING FINAL CHAPTER 11
         FEE APPLICATIONS AND SETTING A HEARING THEREON, AND (III)
                            GRANTING RELATED RELIEF



               Upon consideration of the corrected motion (the “Motion”) 2 of the above-captioned debtors

  and debtors in possession (collectively, the “Debtors”) for the entry of an order, pursuant to section

  1112(a) of the Bankruptcy Code, (i) converting the Debtors’ chapter 11 cases to cases under

  chapter 7 of the Bankruptcy Code, (ii) establishing a deadline for filing final chapter 11 fee

  applications, and (iii) granting related relief; and it appearing that this Court has jurisdiction to

  consider the Motion pursuant to 28 U.S.C. §§ 1334 and 157, and the Amended Standing Order of

  Reference from the United States District Court for the District of Delaware dated February 29,

  2012; and it appearing that this is a core matter pursuant to 28 U.S.C. § 157(b)(2) and that this



  1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
               identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
               AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451);
               Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC
               (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort
               Mattress LLC (4463). The location of the Debtors’ service address in these chapter 11 cases is: 6500 East
               14 Mile Road, Warren Michigan 48092.
  2
               Capitalized terms used but not otherwise defined in this Order have the meanings ascribed to such terms in
               the Motion.




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  Court may enter a final order consistent with Article III of the United States Constitution; and it

  appearing that venue of these chapter 11 cases and of the Motion is proper pursuant to 28 U.S.C.

  §§ 1408 and 1409; and it appearing that due and adequate notice of the Motion has been given

  under the circumstances, and that no other or further notice need be given; and this Court having

  determined that the relief requested in the Motion is in the best interests of the Debtors, their

  estates, their creditors, and other parties in interest; and after due deliberation and sufficient cause

  appearing therefor,

          IT IS HEREBY ORDERED THAT:

          1.      The Motion is GRANTED, as set forth herein.

          2.      Effective as of 12:00 a.m. (prevailing Delaware time), on April 7, 2020 (the

  “Conversion Date”), the Chapter 11 Cases shall be converted to cases under chapter 7 of the

  Bankruptcy Code.

          3.      The following Conversion Procedures are hereby approved:

               a. Professional Fees. To the extent professionals currently or hereafter retained in the
                  Chapter 11 case have not already submitted final fee applications to the Court (the
                  “Final Fee Applications”), all professionals shall submit Final Fee Applications in
                  accordance with the Bankruptcy Code, Bankruptcy Rules, Local Rules, and orders
                  of this Court by no later than thirty (30) days after the Conversion Date (the “Final
                  Fee Application Deadline”). Objections, if any, to the Final Fee Applications shall
                  be filed and served by no later than twenty-one (21) days after the Final Fee
                  Application Deadline. The Court will schedule a hearing, if necessary, at the
                  Court’s convenience and subject to the Court’s availability, on such Final Fee
                  Applications within fourteen (14) days thereafter or such later date as the Court
                  determines. To the extent no objections are filed to a given professional’s final fee
                  application, such professional may file a Certificate of No Objection, and the Court
                  may, in its sole discretion, enter an order approving such fees. To the extent the
                  Court approves a Final Fee Application after the Conversion Date, all approved
                  amounts owed for professional fees and expenses shall be paid (x) first, from each
                  professional’s retainer to the extent such retainers exist; (y) next, from the Carve
                  Out Reserves (as defined in the Interim CC Order) in accordance with the terms of
                  the Interim CC Order; and (z) thereafter, from the Debtors’ chapter 7 estates in
                  accordance with the Interim CC Order and the priorities set forth in section 726(b)
                  the Bankruptcy Code.




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              b. Books and Records. As soon as reasonably practicable, but in no event later than
                 April 10, 2020, the Debtors shall turn over or provide access to the chapter 7 trustee
                 the books and records of the Debtors in the Debtors’ possession and control, as
                 required by Bankruptcy Rule 1019(4). For purposes hereof, the Debtors may
                 provide copies (including electronic copies) of such books and records to the
                 chapter 7 trustee, or instructions for locating and accessing such books and records,
                 and may retain copies of such books and records to the extent necessary to complete
                 the reports required herein.

              c. Schedules and SOFA. Without prejudice to the chapter 7 trustee’s ability to
                 request further extensions and any party in interest’s ability to oppose such requests,
                 the statements and schedules required by Bankruptcy Rules 1019(1)(A) and
                 1007(b) shall be filed within forty-two (42) days after the Conversion Date.

              d. Schedule of Unpaid Debts. Within fourteen (14) days of the Conversion Date, the
                 Debtors shall file a schedule of unpaid debts incurred after commencement of the
                 Debtors’ Chapter 11 Cases, including the name and address of each creditor, as
                 required by Bankruptcy Rule 1019(5).

              e. Final Report. Within thirty (30) days after the Conversion Date, the Debtors shall
                 file and transmit to the chapter 7 trustee a final report and account in accordance
                 with Bankruptcy Rule 1019(5)(A).

              f. Claims. Within fourteen (14) days of the Conversion Date, KCC shall (i) forward
                 to the Clerk of this Court an electronic version of all imaged claims; (ii) upload the
                 creditor mailing list into CM/ECF; (iii) docket a final claims register in the Debtors’
                 Chapter 11 Cases; and (iv) box and transport all original claims to the Philadelphia
                 Federal Records Center, 14470 Townsend Road, Philadelphia, PA 19154 and
                 docket a completed SF-135 Form indicating the accession and location numbers of
                 the archived claims.

         4.      Subject to its compliance with Del. Bankr. L.R. 2002-1(f)(x)-(xi), on the

  Conversion Date, KCC shall be relieved of its responsibilities as the Debtors’ claims and noticing

  agent in the Debtors’ Chapter 11 Cases and will have no further obligations to the Court, the

  Debtors, the chapter 7 trustee (once appointed), or any party in interest with respect to the Debtors’

  Chapter 11 Cases or the chapter 7 cases.

         5.      Notwithstanding anything to the contrary in the Interim Order (I) Authorizing the

  Debtors to Use Cash Collateral, (II) Granting Adequate Protection to the Prepetition Secured




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  Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting

  Related Relief [D.I. 93] (the “Interim CC Order”), KCC shall be treated as a Professional Person

  (as such term is defined in the Interim CC Order) solely for the purpose of KCC’s eligibility to

  have its fees and expenses paid from the Carve Out Reserves or otherwise as part of the Carve Out

  (each as defined in the Interim CC Order). To the extent that KCC is entitled, or hereafter becomes

  entitled, to payment of its fees and expenses in accordance with the Order Appointing KCC as

  Claims and Noticing Agent Nunc Pro Tunc to the Petition Date [D.I. 77] (the “Claims Agent

  Order”) and the Agreement (as defined in the Claims Agent Order), such fees and expenses shall

  be Allowed Professional Fees (as defined in the Interim CC Order) for purposes of the Carve Out.

         6.      Notwithstanding anything to the contrary in the Interim CC Order, the Carve Out

  Reserves shall be established and funded as follows: (a) $2,593,000 (the “Carve Out Escrow

  Funds”) of the Debtors’ funds shall be wired into an IOLTA account at proposed general

  bankruptcy counsel for the Debtors, Benesch, Friedlander, Coplan & Aronoff LLP (“Benesch”),

  pursuant to wire instructions Benesch has provided to the Prepetition ABL Agent, where such

  funds shall be held in trust for the applicable beneficiaries of the Carve Out and disbursed strictly

  in accordance with the terms of this Order and the Interim CC Order (as modified hereby); and (b)

  the Carve Out Reserve for the Chapter 7 Trustee Carve Out shall be deemed funded by allowing

  $50,000 of the Debtors’ funds to remain in a bank account of the Debtors where such funds shall

  remain available to satisfy the reasonable fees and expenses of any interim or permanent chapter

  7 trustee, as applicable, for the Debtors’ bankruptcy cases. The Carve Out Escrow Funds shall be

  disbursed by Benesch only as follows: (i) with respect to the portion of the Carve Out Escrow

  Funds allocable to KCC for fees and expenses incurred as the Claims Agent, in accordance with

  the procedures set forth in the Claims Agent Order and KCC’s Agreement; (ii) with respect to the




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  portions of the Carve Out Escrow Funds allocable to the Debtor Professionals (other than, for the

  avoidance of doubt, KCC) and the Committee Professionals, upon entry of, and in accordance with

  the terms of, such further order or orders of the Court as may be entered following the filing of

  Final Fee Applications and notice and opportunity to object thereto in accordance with the

  procedures set forth in Paragraph 3(a) above; and (iii) with respect to the portion allocable to fees

  required to be paid to (A) the Clerk of the Court and (B) the Office of the United States Trustee

  under section 1930(a) of title 28 of the United States Code, as may hereafter be directed by the

  interim or final chapter 7 trustee, as applicable.

         7.      Except as expressly provided in Paragraphs 5 and 6 above, nothing in this Order or

  the conversion of these Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code shall

  affect or modify the terms of the Interim CC Order, prejudice any person or entity’s rights

  thereunder or relieve any person or entity of obligations thereunder. All rights, claims, remedies,

  defenses and obligations under and in connection with the Interim CC Order shall be reserved and

  preserved in their entirety. For the avoidance of doubt and without in any way limiting the

  foregoing, (a) all rights and obligations in respect of the Carve Out and the Carve Out Reserves

  (each as defined in the Interim CC Order) shall survive any termination of the Specified Period (as

  defined in the Interim CC Order), and (b) any lien priorities or superpriority claims granted

  pursuant to the Interim CC Order to secure payment of the Carve Out shall be limited to the Carve

  Out Reserves, once funded.

         8.      For the avoidance of doubt, with respect to cash and cash equivalents in the

  possession, custody or control of any Debtor as of the date of entry of this Order, neither the entry

  of this Order, nor any relief granted hereunder, nor the occurrence of the Conversion Date for any

  Debtor’s Chapter 11 Case shall have any effect on whether such cash or cash equivalents (i) are or




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  are not funds collected on account of “trust fund taxes” and held in trust for the benefit taxing

  authorities or other governmental units (as defined in section 101(27) of the Bankruptcy Code) or

  (ii) are or are not property of any Debtor’s bankruptcy estate pursuant section 541 of the

  Bankruptcy Code.

         9.      The Debtors have a need for the services of certain independent contractors,

  including individuals who are former employees of the Debtors (collectively, “Independent

  Contractors”) following the Conversion Date in order to, among other things, (a) provide on-site

  security at the Debtors’ distribution centers, and (b) continue the collection and the Debtors’ books

  and records for transmission to the chapter 7 trustee, prepare the Schedule of Unpaid Debts and

  prepare the Final Report. The Debtors are authorized to pay the Independent Contractors from

  cash on hand in advance for their work and related expenses in an aggregate amount not to exceed

  $73,243 and as further set forth in the Estimated Disbursements Forecast April 6th - April 10th

  provided to the Prepetition ABL Agent on April 5, 2020. After April 10, 2020, the chapter 7

  trustee will determine whether, and to what extent, to continue to use the services of the

  Independent Contractors.

         10.     Nothing herein shall affect the Order Granting the Motion of Jofran Sales, Inc. for

  Injunctive Relief entered on March 27, 2020, in Adversary Proceeding 20-50546.

         11.     This Court shall retain jurisdiction to hear and determine all matters arising from

  or related to the implementation, interpretation and/or enforcement of this Order.




          Dated: April 6th, 2020                       CHRISTOPHER S. SONTCHI
          Wilmington, Delaware                         UNITED STATES BANKRUPTCY JUDGE




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                                   EXHIBIT X




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                                UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

                                          .             Chapter 11
          IN RE:                          .
                                          .             Case No. 20-10553 (CSS)
          ART VAN FURNITURE, LLC, et al., .
                                          .             Courtroom No. 6
                                          .             824 North Market Street
                                          .             Wilmington, Delaware 19801
                                          .
                             Debtors.     .             April 6, 2020
          . . . . . . . . . . . . . . . . .             1:00 P.M.

                             TRANSCRIPT OF TELEPHONIC HEARING
                       BEFORE THE HONORABLE CHRISTOPHER S. SONTCHI
                              UNITED STATES BANKRUPTCY JUDGE

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